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                    IN THE UNITED STATE DISTRICT COURT
                           DISTRICT OF COLORADO


Civil Action No. 1:16-cv-01301-PAB-GPG

RCHFU, LLC, a Colorado limited liability company, JEFFREY A. BAYER and GAIL L.
BAYER, ROBERT BUZZETTI, JULIE C. CANNER, LEE JAMES CHIMERAKIS and
THERESA ANN CHIMERAKIS, KEVIN CLARE and NANCY LYNNE SHUTE, TOBY
L. CONE TRUST and TOBY L. CONE, its Trustee, RICHARD DAVIS and SHIRLEY J.
DAVIS, CARL EICHSTAEDT III, JAMES RICHARD FARQUHAR and JENNIFER
LUCILLE FARQUHAR, KOPPELMAN FAMILY TRUST and LARRY KOPPELMAN,
its Trustee, DAVID LANCASHIRE and STEPHEN ANDREWS, BONNIE LIKOVER,
CRAIG LIPTON, JEREMY LOWELL, D.D.S. and LORI LOWELL, EDWARD P.
MEYERSON and ANDREA C. MEYERSON, JERRY M. NOWELL TRUST and JERRY
M. NOWELL, its Trustee, and DEE ANN DAVIS NOWELL TRUST and DEE ANN DAVIS
NOWELL, its Trustee, THOMAS M. PROSE REVOCABLE LIVING TRUST and
THOMAS M. PROSE, M.D., its Trustee, CASEY M. ROGERS and COURTNEY S.
ROGERS, ROBERT A. SKLAR TRUST and ROBERT A. SKLAR, its Trustee, C.
RICHARD STASNEY, M.D. and SUSAN P. STASNEY, TSE HOLDINGS, LLC, a
Colorado limited liability company, STEPHEN WEINSTEIN and BRENDA WEINSTEIN,
JACK ZEMER, JEFFREY L. BERTNSTEIN and AMY S. BERNSTEIN, CHRISTOPHER
BRANOFF and KIMBERELY BRANOFF, RICHARD LOUISE LEVENGOOD and
LYNDA OVERLY LEVENGOOD, FRED H. FRIEDMAN and BRENDA C. FRIEDMAN,
BENJE R. DANIEL, JR., DDS, MS, PA, R. DAVID & CHERYL M. JONES
REVOCABLE LIVING TRUST and DAVID R. JONES, its Trustee, and CHERYL M.
JONES, its Trustee, LILY ANN FRIEDMAN, 831 701 ONTARIO LIMITED, a Canadian
Corporation, GARRY R. KIMBALL and CATHERINE G.A. KIMBALL, DAVID
FRIEDMAN, MICHAEL G. ROBINSON and CAROLINE ROBINSON, HAMMER
FAMILY LIMITED PARTNERSHIP, 8202 RCC ASPEN HIGHLANDS, LLC, CARL
ANDREW RUDELLA and TAMMIEJO RUDELLA, ROBERT KAUFMANN, , DAVID S.
ISRAEL TRUST and DAVID S. ISRAEL, its Trustee, J & B WOODS FAMILY
ASSOCAITES, LLC, MICHAEL P. PACIN and AMY D. RONNER, BRUCE E. REID and
ROSEMARY W. REID, CHARLES F.A. MCCLUER, III, P.A., a Texas corporation
FRANK R. VOGL and EMILY VOGL, LEVY VENTURES LIMITED PARTNERSHIP, a
Florida partnership, DRE, INC., an Illinois corporation, ROBERT C. HUBBELL and JAN H.
HUBBELL, DAVID SCHAECTER, VLADIMIR MALAKHOVA and LUDMILA
MALAKHOVA, EL PASO MANAGEMENT, LLC, an Alaska limited liability company,
PEPKOWTIZ TRUST and SAMUEL H. PEPKOWITZ and ROBERTA A. PEPKOWITZ,
its Trustees, JH CAPITAL CORPORATION, a Florida corporation, DAVID S. BLACHER
and CONSTANCE H. BLACHER, BRYAN J. HAWKINS and LAURA A. HAWKINS,
BRUCE M. NESBITT REVOCABLE TRUST and BRUCE M. NESBITT, its Trustee, LE



                                                                   EXHIBIT "A"
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BEFANA TRUST and MONICA M. CAMPANELLA, its Trustee, REETA G. CASEY
REVOCABLE LIVING TRUST and REETA G. CASEY, its Trustee, ANTHONY F.
PRINSTER and SALLY L. PRINSTER, KEVIN E. GRANT, GILBERT P. GRADINGER
and SALLY A. GRADINGER, JEFFREY RAPPIN and PENNY BROWN, MILAN
RANDIC TRUST and MILAN RANDIC, its Trustee, and MIRIJANA RANDIC TRUST and
MIRIJANA RANDIC, its Trustee, CHARLES B. BUCHANAN and CHARLOTTE S.
BUCHANAN, ANNETTE KALCHEIM TRUST and ANNETTE KALCHEIM, its Trustee,
MINDY R. WEXLER REVOCABLE TRUST and MINDY R. WEXLER, its Trustee, JOHN
BERGSTROM, JOHN E. BLANCHARD and JENNIFER BLANCHARD and ROBERT
BLANCHARD and ELLEN BLANCHARD, LOUISE B. HOVERSTEN, HOWARD A.
SIMON and ELIZABETH M. SIMON, GARY S. CHAVIN and PAT A. CHAVIN, GREG
JACOBSON, DOUGLAS KADISON and CAROL KADISON, JOSEPH FRYZER,
DANNY V. LACKEY LIVING TRUST and DANNY V. LACKEY, its Trustee, and NANCY
L. LACKEY LIVING TRUST and NANCY L. LACKEY, its Trustee, H.M. PALM and
MARGARET PALM, PAUL C. ROSENTHAL and CARLA P. ROSENTHAL, THE
DAVID & LESA FIGLIULO FAMILY REVOCABLE LIVING TRUST, DAVID A.
FIGLIULO, its Trustee, and LESA A. FIGLIULO, its Trustee, WALTER H. PETRIE and
NANCY A. PETRIE, KENNETH TOMPKINS and KIMBERLY TOMPKINS, BARBARA
L. PALAZZOLO REVOCABLE TRUST and BARBARA L. PALAZZOLO, its Trustee,
DAN JAMES WEINKLE and SUSAN HOLLOWAY WEINKLE, AMI RABINOWITZ
TRUST and AMI RABINOWITZ, its Trustee, and EVAN RABINOWITZ, its Trustee,
KONA, LTD., a Texas limited partnership, STEVE V. GURLAND and CAROLINE I.
GURLAND, SPENCER L. YOUNGBLOOD FAMILY PARTNERSHIP LTD, a Texas
limited partnership, KENNETH D. CUSHMAN and CAROL A. CUSHMAN, DAN
MOSKOWITZ and WENDY MOSKOWITZ, GARY SHELDON KOHLER and
DEBORAH JOY KOHLER, LEWIS J. HIRSCH and GAYLE HIRSCH, BRADLY
PROPERTIES, LLC, an Alabama limited liability company, ANNA P. ZALK, MOUNTAIN
DRIVE TRUST and DAVID JACKEL, its Trustee, WILLIAM M. WAXMAN and ALAN S.
WAXMAN, HYLAND REVOCABLE LIVING TRUST and TIMOTHY J. HYLAND, its
Trustee, and NATALIE B. HYLAND, its Trustee, NEIL SPIZIZEN TRUST and NEIL
SPIZIZEN, its Trustee, D.L. WILKEY and JULIE JANICEK-WILKEY, CASS
FRANKLIN and VERA STEWART FRANKLIN, DARYL CRAMER and HEATHER
CRAMER and HOPE S. BARKAN, JACOB LOUIS SLEVIN, RONALD LAWRENCE
GLAZER TRUST and RONALD LAWRENCE GLAZER, its Trustee, and CHRISTIANE
NICOLINI GLAZER TRUST, and CHRISTIANE NICOLINI GLAZER, its Trustee,
ERICH TENGELSEN, CHARLES A. GOTTLOB and CYNTHIA G. GOTTLOB, LUCY
D. ANDA, NEIL G. ARNOVITZ, PETER CHARLES CROWLEY TRUST and MELISSA
T. CROWLEY, its Trustee, PATRICK A. LATTORE and DEE P. LATTORE, ROCKY J.
MOUNTAIN and JANET M. MOUNTAIN, PHYLLIS SCHOFIELD and WILLIAM F.
SCHOFIELD, JR., MARK L. HORWITZ and SUSAN J. HORWITZ, JOEL SACHER and
SUSAN J. SACHER, C & N ASSETS, LTD., a Texas limited partnership, LISA MOTTOLA
TRUST and LISA MOTTOLA, its Trustee, MEL A. BARKAN

Plaintiffs,

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v.

MARRIOTT VACATIONS WORLDWIDE CORPORATION, a Delaware corporation,
MARRIOTT OWNERSHIP RESORTS, INC., d/b/a MARRIOTT VACATION CLUB
INTERNATIONAL, a Delaware corporation, ASPEN HIGHLANDS CONDOMINIUM
ASSOCIATION, a Colorado non-profit corporation, RITZ-CARLTON MANAGEMENT
COMPANY, LLC, a Delaware limited liability company, COBALT TRAVEL COMPANY,
LLC, INC., a Delaware limited liability company, and THE LION & CROWN TRAVEL
CO., LLC, a Delaware limited liability company,

Defendants.
______________________________________________________________________________

   THIRD AMENDED AND SUPPLEMENTAL COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       Plaintiffs, as listed in the caption and in paragraphs 13 infra, by and through their

undersigned counsel, for their Complaint and Jury Demand, state and allege as follows:

                           I.      INTRODUCTION AND BACKGROUND

       1.      This lawsuit concerns Defendants’ unlawful acts that decimated the value of

deeded 1/12 fractional interests that Plaintiffs and other owners (“Ritz Carlton Aspen Owners”)

purchased in the Ritz-Carlton Club Aspen Highlands, located in Aspen, Colorado. Over the last

several years, Defendants, including Defendant Marriott Vacations Worldwide Corporation

(“MVW”) and its subsidiaries and affiliates, have knowingly damaged Plaintiffs and unjustly

enriched themselves by violating (or aiding and abetting in, or conspiring to violate) various

fiduciary duties owed by certain Defendants to Ritz Carlton Aspen Owners. These violations

undercut the essential features of the fractional interests sold to Plaintiffs and Ritz Carlton Aspen

Owners.

       2.      In the 1980s, Marriott International, Inc. established Defendant Marriott

Ownership Resorts Inc., d.b.a. Marriott Vacation Club International (“MVCI”), to run Marriott’s

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timeshare operations.         MVCI originally sold timeshares in one-week intervals. In 1984,

Marriott’s Monarch on Hilton Head Island became the first MVCI resort. By 2009, MCVI had

grown to over 400,000 timeshare owners who had purchased one-week interval timeshares.

        3.       In 1999, MVCI introduced “The Ritz-Carlton Club” (also known as “The Ritz-

Carlton Destination Club”) as a luxury alternative to its “Marriott Vacation Club” timeshare

product, which it describes as its “upscale” product line. The Ritz-Carlton Club sold deeded 1/12

fractional ownership interests.          The luxury nature, longer use intervals 1, and exclusivity

distinguished the Ritz Carlton Club fractional interests from MVCI’s “Marriott Vacation Club”

product line. Based on these distinctions and attributes, The Ritz Carlton Club interests were

substantially more expensive.

        4.       In 2001, the Ritz-Carlton Club, Aspen Highlands was established as the first

fractional ownership property for The Ritz-Carlton Club brand. Thereafter, between 2001 and

2012, Defendants developed and sold approximately 3,200 of the deeded 1/12 luxury fractional

interests under The Ritz Carlton Club brand at the following nine locations: Aspen Highlands,

Colorado; Bachelor Gulch, Colorado; Jupiter, Florida; North Lake Tahoe, California; St.

Thomas, U.S.V.I.; San Francisco, California; Vail, Colorado; Abaco, Bahamas; and Maui,

Hawaii.

        5.        In 2010 MCVI began converting legacy “week owners” of Marriott Vacation

Club timeshares to a “points-based product” wherein purchasers bought interests in a land trust

(“MVC Trust”) set up by MVCI to own its resorts. By the end of 2011, many of the Marriott

1
   The Ritz-Carlton Club 1/12 fractionals sold at Ritz-Carlton, Aspen Highlands entitled purchasers to 4 weeks of
use per year. The other Ritz-Carlton Clubs sold 1/12 fractionals entitling three weeks of use, with the remaining 16
weeks used by members on a “space available” basis. Use of the “space available” weeks was given to members
pursuant to the rules established in the Ritz-Carlton Membership Program.

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Vacation Club’s over 400,000 owners at over 50 Marriott Vacation Club resorts worldwide were

utilizing points purchased from MVCI to trade for use of Marriott Vacation Club resorts.

Further, by the end of 2011, Marriott Vacation Club points were available for sale on the

secondary market for a fraction of the cost at which MVCI sold them “new.” In addition,

Marriott Vacation Club Points were available to “rent” from other members, enabling them to

upgrade to stays at more desirable resorts than their “home resorts.”

       6.       Between 2001 and 2012, hundreds of Ritz Carlton Aspen Owners, including

Plaintiffs, paid premium prices, ranging from an average of $150,000 to $400,000, for their

deeded 1/12 fractional interest at the Ritz Carlton Club in Aspen Highlands, (known as “Tourist

Accommodation Units” or “Fractional Units”). These Fractional Units were sold based on

Defendants’ claims that the Fractional Units were superior to MVCI’s other timeshare offerings

in that the Ritz Carlton Club Aspen Highlands would be exclusive and operate for the use,

benefit and enjoyment of Ritz Carlton Club Members as well as their family and guests “like a

second home,” supporting the expensive purchase prices for the Fractional Units as compared to

other MVCI timeshare offerings. Defendants further stated that the Fractional Units were

transferrable like any other form of deeded real estate.

       7.      In November 2011, Marriott International, Inc. “spun-off” Defendant MVW as a

separately traded public company (NYSE: VAC), and MVW became the exclusive developer

and manager of vacation ownership and related products under the Marriott brand and the

exclusive developer of vacation ownership and related products under the Ritz-Carlton brand.

       8.      In its first Annual Report filed following the spin-off (dated March 21, 2012),

MVW revealed its intent to abandon the upscale Ritz-Carlton product line, stating: “we have


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significantly scaled back our development of Luxury segment vacation ownership products. We

do not have any Luxury segment projects under construction nor do we have any current plans

for new luxury development. While we will continue to sell existing Luxury segment vacation

ownership products, we also expect to evaluate opportunities for bulk sales of finished inventory

and disposition of undeveloped land.”

       9.      Beginning in 2013 and continuing through the 2014, Defendants MVW, Ritz-

Carlton Management Company, LLC (“RC Management”), The Cobalt Travel Company, LLC

(“Cobalt”) and the other Defendants used their complete control over Defendant Aspen

Highlands Condominium Association, Inc., (“Association”) as well as their control over the use

and operation of Plaintiffs’ Fractional Units, to eliminate the very features for which Plaintiffs

and Ritz Carlton Aspen Owners paid premium prices, thereby destroying the value of the

Fractional Units sold to Plaintiffs and Ritz Carlton Aspen Owners. By these actions, and in

breach of their fiduciary duties owed as a result of the control maintained over Plaintiffs’

Fractional Units and the fact that Defendants were agents or sub-agents of Plaintiffs and Ritz

Carlton Aspen Owners, Defendants profited at Plaintiffs and the Ritz Carlton Aspen Owners’

expense. Even though Defendants’ actions destroyed the value of the Fractional Units, Plaintiffs

and Ritz Carlton Aspen Owners continue to pay steadily increasing annual dues, compounding

the harm. A large percentage of these dues go directly to Defendants in the form of lucrative

“management fees” and other “reimbursements” supposedly incurred by Defendants under the

management contracts, including payroll related costs. These management fees and

reimbursements are paid solely by Fractional Unit owners at the Ritz Carlton Club Aspen

Highlands to the Defendants regardless of usage or occupancy.


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       10.     Due to Defendants’ conduct described herein and other actions to be discovered

and proven, the Fractional Units owned by Plaintiffs and Ritz Carlton Aspen Owners are now

worth less than 20% of the original purchase prices, while, on the other hand, Defendants,

including MVW; MVCI; RC Management; Cobalt; and The Lion & Crown Travel Co., LLC

(“L&C”) have been unjustly enriched. Due to defendants’ actions, MVC members can now

enjoy the benefits and use of the Ritz-Carlton Club Aspen Highlands property for a fraction of

the cost that Plaintiffs and Ritz Carlton Aspen Owners paid. For example, a MVC member can

buy (or simply rent) MVC points sufficient to stay at the Ritz Carlton Club Aspen Highlands for

approximately twenty percent of what it costs Ritz Carlton Aspen Owners, who paid $200-400k

for substantially similar rights and benefits.

                                 II.     JURISDICTION AND VENUE

       11.     This action was filed in the District Court of Colorado, Pitkin County which had

jurisdiction over the subject matter at issue because this is a civil action for damages and/or

equitable relief. Colo. Const. Art. VI, § 9(1). Defendants MVW, MVCI, RC Management,

Cobalt, and The Lion & Crown Travel Co., LLC removed the action pursuant to the Class Action

Fairness Act of 2005, 28 U.S.C. §§ 1332, 1446 and 1453.

       12.      Venue is proper as the case was removed from the District Court of Pitkin

County, Colorado and the District Court of Pitkin County, Colorado is in the District of

Colorado. 28 U.S.C. § 28. The case was thus properly removed to this Court. 28 U.S.C. §§

1441(a).




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                                         III.   PARTIES

       A.      Plaintiffs

       13.     The following are Plaintiffs:

       a)      Plaintiff RCHFU, LLC is organized under the laws of Colorado. Its only

members, Jennifer Kaplan and Alexander H. Busansky, are citizens of California. Pursuant to a

uniform Purchase Contract Ms. Kaplan and Mr. Busansky signed in 2003, they paid $218,500 to

the seller Ritz Carlton Development Company and obtained title to Residence Interest No. 12

consisting of an undivided 1/12 interest in Residence No. 8314 of Aspen Highlands

Condominiums, according to the Declaration of Condominium for Aspen Highlands

Condominiums, recorded January 11, 2001, Reception No. 450454 (referred to herein as “Aspen

Highlands Condominiums” or “Ritz Aspen Highlands”).Pursuant to an Assignment of Claims,

Ms. Kaplan and Mr. Busansky transferred all of their claims and all interests in claims arising out

of ownership or under the Purchase Contract or otherwise and pertaining to the undivided 1/12

interest in Residence Unit No. 8314 at the Ritz Aspen Highlands to RCHFU, LLC.

       b)      Plaintiffs Jeffrey A. Bayer and Gail L. Bayer (collectively, the “Bayer

Plaintiffs”) are citizens of the State of Alabama. Pursuant to a uniform Purchase Contract signed

in 2001, the Bayer Plaintiffs paid $180,000.00 to the seller Ritz Carlton Development Company,

and obtained title to Residence Interest No. 9 consisting of an undivided 1/12 interest in

Residence No. 8308 of the Aspen Highlands Condominiums.

       c)      Plaintiff Robert Buzzetti is a citizen of the State of Florida. Pursuant to a

uniform Purchase Contract signed in 2002, Mr. Buzzetti paid $320,000.00 to the seller Ritz




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Carlton Development Company, and obtained title to Residence Interest No. 4 consisting of an

undivided 1/12 interest in Residence No. 8203 of the Aspen Highlands Condominiums.

       d)      Plaintiff Julie C. Canner is a citizen of the State of Michigan. Pursuant to a

uniform Purchase Contract signed in 2001, Ms. Canner paid $170,000.00 to the seller Ritz

Carlton Development Company, and obtained title to Residence Interest No. 13 consisting of an

undivided 1/12 interest in Residence No. 8402 of the Aspen Highlands Condominiums.

       e)      Plaintiffs Lee James Chimerakis and Theresa Ann Chimerakis (collectively,

the “Chimerakis Plaintiffs”) are citizens of the State of Florida. In 2008, the Chimerakis

Plaintiffs paid $310,000.00 to the seller Sharon A. Held and Ian C. Hague, and obtained title to

Residence Interest No. 5 consisting of an undivided 1/12 interest in Residence No. 2405 of the

Aspen Highlands Condominiums.

       f)      Plaintiffs Kevin Clare and Nancy Lynne Shute (collectively, the “Clare

Plaintiffs”) are citizens of the State of California. In 2005, the Clare Plaintiffs paid $266,000.00

to the seller Thomas E. Noel and Geraldine B. Noel, and obtained title to Residence Interest No.

5 consisting of an undivided 1/12 interest in Residence No. 2206 of the Aspen Highlands

Condominiums.

       g)      Plaintiffs Toby L. Cone Trustee is a citizen of the State of Connecticut and

Trustee of the Toby L. Cone Trust (collectively, the “Cone Plaintiffs”). Pursuant to a uniform

Purchase Contract signed in 2003, the Cone Plaintiffs paid $220,000.00 to the seller Ritz Carlton

Development Company, and obtained title to Residence Interest No. 10 consisting of an

undivided 1/12 interest in Residence No. 8406 of the Aspen Highlands Condominiums.




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       h)      Plaintiffs Richard Davis and Shirley J. Davis (collectively, the “Davis

Plaintiffs”) are citizens of the State of Texas. Pursuant to a uniform Purchase Contract signed in

2002, the Davis Plaintiffs paid $290,000.00 to the seller Ritz Carlton Development Company,

and obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence

No. 8105 of the Aspen Highlands Condominiums.

       i)      Plaintiff Carl Eichstaedt, III is a citizen of the State of California Pursuant to a

uniform Purchase Contract signed in 2004, the Eichstaedt Plaintiff paid $238,000.00 to the seller

Ritz Carlton Development Company, and obtained title to Residence Unit No. 7 consisting of an

undivided 1/12 interest in Residence No. 2204 of the Aspen Highlands Condominiums.

       j)      Plaintiffs James Richard Farquhar and Jennifer Lucille Farquhar are citizens

of Australia. Pursuant to a uniform Purchase Contract signed in 2008, the Farquhar Plaintiffs

paid $210,000.00 to the seller Ritz Carlton Development Company, and obtained title to

Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 2302 of the

Aspen Highlands Condominiums.

       k)      Plaintiff Larry Koppleman is a citizen of the State of California and Trustee of

the Koppleman Family Trust (collectively, the “Koppleman Plaintiffs”). Pursuant to a uniform

Purchase Contract signed in 2001, the Koppleman Plaintiffs paid $310,000.00 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 6 consisting of an

undivided 1/12 interest in Residence No. 8205 of the Aspen Highlands Condominiums.

       l)      Additionally, pursuant to a uniform Purchase Contract signed in 2001, the

Koppleman Plaintiffs paid $171,000.00 to the seller Ritz Carlton Development Company and




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obtained title to Residence Unit No. 1 consisting of an undivided 1/12 interest in Residence No.

8404 of the Aspen Highlands Condominiums.

       m)     Additionally, pursuant to a uniform Purchase Contract signed in 2002, the

Koppleman Plaintiffs paid $295,000.00 to the seller Ritz Carlton Development Company and

obtained title to Residence Unit No. 2 consisting of an undivided 1/12 interest in Residence No.

8305 of the Aspen Highlands Condominiums.

       n)     Plaintiffs   David    Lancashire     and    Stephen     Andrews      (collectively,

“Lancashire/Andrews”) are citizens of the State of Texas. Pursuant to a uniform Purchase

Contract signed in 2003, Lancashire/Andrews paid $200,000 to the seller Ritz Carlton

Development Company and obtained title to Residence Unit No. 6 consisting of an undivided

1/12 interest in Residence No. 8403 of the Aspen Highlands Condominiums.

       o)     Plaintiff David Lancashire is a citizen of the State of Texas. Pursuant to a

uniform Purchase Contract signed in 2008, Mr. Lancashire paid $230,000 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 4 consisting of an

undivided 1/12 interest in Residence No. 8105 of the Aspen Highlands Condominiums.

       p)     Plaintiff Bonnie Likover is a citizen of the State of Texas. In 2008, Ms. Likover

paid $173,500.00 to the seller Jonathan E. Kagan and obtained title to Residence Interest No. 12

consisting of an undivided 1/12 interest in Residence No. 8202 of the Aspen Highlands

Condominiums.

       q)     Plaintiff Craig Lipton is a citizen of the State of California. In 2007, Mr. Lipton

paid $180,000.00 to the seller Linda Rozynes, and obtained title to Residence Interest No. 7




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consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen Highlands

Condominiums.

       r)      Plaintiffs Jeremy Lowell, D.D.S. and Lori Lowell (collectively, the “Lowell

Plaintiffs”) are citizens of the State of Colorado. Pursuant to a uniform Purchase Contract signed

in 2005, the Lowell Plaintiffs paid $250,000.00 to the seller Ritz Carlton Development

Company, and obtained title to Residence Interest No. 9 consisting of an undivided 1/12 interest

in Residence No. 2204 of the Aspen Highlands Condominiums.

       s)      Plaintiffs Edward P. Meyerson and Andrea C. Meyerson (collectively, the

“Meyerson Plaintiffs”) are citizens of the State of Alabama. In 2004, the Meyerson Plaintiffs

paid $234,000.00 to the seller Jordan Grabel and Victoria Grabel, and obtained title to Residence

Interest No. 12 consisting of an undivided 1/12 interest in Residence No. 8302 of the Aspen

Highlands Condominiums.

       t)      Plaintiffs Jerry M. Nowell and Dee Ann Davis Nowell are citizens of the State

of Arizona and as Trustees of the Jerry M. Nowell Trust and the Dee Ann Davis Nowell Trust,

respectively (collectively, the “Nowell Plaintiffs”). Pursuant to a uniform Purchase Contract

signed in 2004, the Nowell Plaintiffs paid $210,000.00 to the seller Ritz Carlton Development

Company, and obtained title to Residence Interest No. 10 consisting of an undivided 1/12 interest

in Residence No. 8106 of the Aspen Highlands Condominiums.

       u)      Plaintiff Thomas M. Prose, M.D. is a citizen of the State of Michigan and

Trustee of the Thomas M. Prose Revocable Living Trust, (collectively, the “Prose Plaintiffs”).

Pursuant to a uniform Purchase Contract signed in 2008, the Prose Plaintiffs paid $369,000.00 to

the seller Ritz Carlton Development Company, and obtained title to two undivided 1/12 interests


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in Residence No. 2401 of the Aspen Highlands Condominiums. The interests are described in

weeks. Additionally, pursuant to a uniform Purchase Contract signed in 2009, the Prose

Plaintiffs paid $120,650.00 to the seller Ritz Carlton Development Company, and obtained title

to an undivided 1/12 interest in Residence No. 2304 of the Aspen Highlands Condominiums. The

interest is described in weeks.

       v)      Plaintiffs Case M. Rogers and Courtney S. Rogers are citizens of the State of

North Carolina. Pursuant to a uniform Purchase Contract signed in 2003, the Rogers Plaintiffs

paid $220,000.00 to the seller Ritz Carlton Development Company, and obtained title to

Residence Interest No. 4 consisting of an undivided 1/12 interest in Residence No. 8106 of the

Aspen Highlands Condominiums.

       w)      Plaintiff Robert A. Sklar is a citizen of the State of Michigan and Trustee of the

Robert A. Sklar Trust (collectively, the “Sklar Plaintiffs”). In 2012, Mr. Sklar paid $80,000.00

to the seller Gregory R. Nelson and Barbara L. Nelson, Trustees of the Nelson Revocable

Declaration Of Trust, and obtained title to Residence Interest No. 10 consisting of an undivided

1/12 interest in Residence No. 8204 of the Aspen Highlands Condominiums.

       x)      Plaintiffs C. Richard Stasney and Susan P. Stasney (collectively, the “Stasney

Plaintiffs”) are citizens of the State of Texas. Pursuant to a uniform Purchase Contract signed in

2001, the Stasney Plaintiffs paid $300,000.00 to the seller Ritz Carlton Development Company

and obtained title to Residence Interest No. 11 consisting of an undivided 1/12 interest in

Residence No. 8205 of Aspen Highlands Condominiums.

       y)      In 2011, C. Richard Stasney paid $261,000.00 to the sellers Benvenuto

Residential Revocable Trust, as to an undivided 50% interest and DRE, Inc., as to an undivided


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50% interest and obtained title to an undivided 1/12 interest in Residence No. 2305 of the Aspen

Highlands Condominiums. The interest is described in weeks.

       z)      Plaintiff TSE LLC, is a Colorado limited liability company, in good standing.

Thomas Engelman is a citizen of the State of Colorado and a manager and member. In 2013,

TSE Holding, LLC paid $11,000.00 on the secondary market to purchase and obtain title of an

undivided 1/12 interest in Residence No. 2304 of the Aspen Highlands Condominiums. The

interest is described in weeks.

       aa)     Plaintiffs Stephen Weinstein and Brenda Weinstein (collectively, the

“Weinstein Plaintiffs”) are citizens of the State of Florida. In 2005, the Weinstein Plaintiffs paid

$227,000.00 to the seller David L. Helfet and Mary B. Helfet and obtained title to Residence

Interest No. 11 consisting of an undivided 1/12 interest in Residence No. 8314 of Aspen

Highlands Condominiums.

       bb)     Plaintiff Jack Zemer is a citizen of the State of California. Pursuant to a uniform

Purchase Contract signed in 2001, Mr. Zemer paid $230,000.00 to the seller Ritz Carlton

Development Company, and obtained title to Residence Interest No. 11 consisting of an

undivided 1/12 interest in Residence No. 8405 of Aspen Highlands Condominiums.

       cc)     Plaintiffs Jeffrey L. Bernstein and Amy S. Bernstein are citizens of the State of

California. Pursuant to a uniform Purchase Contract signed in 2006, the Bernstein Plaintiffs paid

$275,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 5 consisting of an undivided 1/12 interest in Residence No. 8106 of Aspen

Highlands Condominiums.




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       dd)    Plaintiffs Christopher Branoff and Kimberley Branoff are citizens of the State

of Florida. Pursuant to a uniform Purchase Contract signed in 2003, the Branoff Plaintiffs paid

$230,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 3 consisting of an undivided 1/12 interest in Residence No. 8410 of Aspen

Highlands Condominiums.

       ee)    Plaintiffs Richard Louis Levengood and Lynda Overly Levengood are citizens

of the State of Pennsylvania. Pursuant to a uniform Purchase Contract signed in 2006, the

Levengood Plaintiffs paid $435,000.00 to the seller Ritz Carlton Development Company, and

obtained title to Residence Interest No. 1 consisting of an undivided 1/12 interest in Residence

No. 2407 of Aspen Highlands Condominiums.

       ff)    Plaintiffs Fred H. Friedman and Brenda C. Friedman are citizens of the State

of Alabama. Pursuant to a uniform Purchase Contract signed in 2003, the Friedman Plaintiffs

paid $200,000.00 to the seller Ritz Carlton Development Company, and obtained title to

Residence Interest No. 8 consisting of an undivided 1/12 interest in Residence No. 8215 of

Aspen Highlands Condominiums.

       gg)    Plaintiff Benje R. Daniel, Jr., DDS, MS, PA is a citizen of the State of Texas.

Pursuant to a uniform Purchase Contract signed in 2005, Mr. Daniel paid $351,000.00 to the

seller Ritz Carlton Development Company, and obtained title to Residence Unit No. 5 consisting

of an undivided 1/12 interest in Residence No. 8203 of Aspen Highlands Condominiums.

       hh)    Plaintiffs David R. Jones and Cheryl M. Jones are citizens of the State of Texas

and Trustees of the R. David & Cheryl M. Jones Revocable Living Trust (collectively, the

“Jones Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2003, Mr. and Mrs. Jones


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paid $230,000.00 to the seller Ritz Carlton Development Company, and obtained title to

Residence Interest No. 8 consisting of an undivided 1/12 interest in Residence No. 8415 of the

Aspen Highlands Condominiums.

       ii)    Plaintiff Lily Ann Friedman is a citizen of the State of Ohio. Pursuant to a

uniform Purchase Contract signed in 2001, Ms. Friedman paid $270,000.00 to the seller Ritz

Carlton Development Company, and obtained title to Residence Interest No. 7 consisting of an

undivided 1/12 interest in Residence No. 8315 of the Aspen Highlands Condominiums.

       jj)    Plaintiff 831 701 Ontario, is a Canadian Corporation. Ron Ennis is a citizen of

Canada and President of 831 701 Ontario. Pursuant to a uniform Purchase Contract signed in

2004, 831 701 Ontario paid $180,000.00 to seller Pitkin County Exchange Holdings of Aspen,

LLC and obtain title to Residence Interest No. 2 of an undivided 1/12 interest in Residence No.

8415 of the Aspen Highlands Condominiums.

       kk)    Plaintiffs Garry R. Kimball and Catherine G.C. Kimball are citizens of the

State of Texas. Pursuant to a uniform Purchase Contract signed in 2001, the Kimball Plaintiffs

paid $180,000.00 to the seller Ritz Carlton Development Company, and obtained title to

Residence Interest No. 10 consisting of an undivided 1/12 interest in Residence No. 8104 of

Aspen Highlands Condominiums.

       ll)    Plaintiff David Friedman is a citizen of the State of Michigan. In 2005, Mr.

Friedman paid $245,000.00 to the seller Scott C. Brittingham Trust, and obtained title to

Residence Interest No. 5 consisting of an undivided 1/12 interest in Residence No. 8304 of

Aspen Highlands Condominiums.




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       mm)    Plaintiffs Michael G. Robinson and Caroline Robinson are citizens of the State

of Texas. Pursuant to a uniform Purchase Contract signed in 2001, the Robinson Plaintiffs paid

$250,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 12 consisting of an undivided 1/12 interest in Residence No. 8306 of the Aspen

Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed in

2009, the Robinson Plaintiffs paid $139,000.00 to the seller Ritz Carlton Development

Company and obtained title to Residence Unit No. 12 consisting of an undivided 1/12 interest in

Residence No. 8410 of the Aspen Highlands Condominiums.

       nn)    Plaintiff Hammer Family Limited Partnership for benefit of Robert Hammer,

Renee Hammer, Barry Hammer and Jeffrey Hammer is an Illinois partnership. Pursuant to

a uniform Purchase Contract signed in 2002, Mr. Hammer paid $190,000.00 to seller Ritz

Carlton Development Company Inc. and obtain title to Residence Interest No. 9 of an undivided

1/12 interest in Residence No. 8202 of the Aspen Highlands Condominiums.

       oo)    Plaintiff 8202 RCC Aspen Highlands, LLC is a Texas limited liability company,

in good standing. John S. Rubin and Margaret Rubin are citizens of the State of Texas.

Pursuant to a uniform Purchase Contract signed in 2001, the Rubin Plaintiffs paid $250,000.00 to

the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 8

consisting of an undivided 1/12 interest in Residence No. 8208 of the Aspen Highlands

Condominiums.

       pp)    Plaintiffs Carl Andrew Rudella and Tammiejo Rudella are citizens of the State

of Florida. Pursuant to a uniform Purchase Contract signed in 2005, the Rudella Plaintiffs paid

$180,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence


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Unit No. 20 consisting of an undivided 1/12 interest in Residence No. 8411 of the Aspen

Highlands Condominiums.

       qq)     Plaintiff Robert Kaufmann is a citizen of the State of Georgia. Pursuant to a

uniform Purchase Contract signed in 2004, Mr. Kaufmann paid $240,000.00 to the seller Ritz

Carlton Development Company, and obtained title to Residence Interest No. 8 consisting of an

undivided 1/12 interest in Residence No. 2204 of Aspen Highlands Condominiums.

       rr)     Plaintiff David S. Israel is citizen of the State of Illinois and is Trustee of the

David S. Israel Trust. In 2008, Mr. Israel paid $185,000.00 to the sellers Glenn H. Clements

and Michele M. Clements, and obtained title to Residence Interest No. 7 consisting of an

undivided 1/12 interest in Residence No. 2306 of the Aspen Highlands Condominiums.

       ss)     Plaintiff J & B Woods Family Associates, LLC is a New York limited liability

company, in good standing. Pursuant to a uniform Purchase Contract signed in 2002, Mr. Woods

(James Woods and his wife Barbara Woods, as individuals, originally purchased unit, later

transferring ownership to J & B Wood Family Associates, LLC) paid $260,000.00 to the seller

Ritz Carlton Development Company, and obtained title to Residence Interest No. 3 consisting of

an undivided 1/12 interest in Residence No. 8104 of Aspen Highlands Condominiums.

       tt)     Plaintiffs Michael P. Pacin and Amy D. Ronner are citizens of the State of

Florida. Pursuant to a uniform Purchase Contract signed in 2007, the Pacin/Ronner Plaintiffs

paid $225,000.00 to the seller Ritz Carlton Development Company and obtained title to an

undivided 1/12 interest in Residence No. 2408 of the Aspen Highlands Condominiums. The

interest is described in weeks.




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       uu)    Plaintiffs Bruce E. Reid and Rosemary W. Reid are citizens of the State of

Florida. Pursuant to a uniform Purchase Contract signed in 2002, the Reid Plaintiffs paid

$200,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 8202 of the Aspen

Highlands Condominiums.

       vv)    Plaintiff Charles F. A. McCluer, III, P.A. is a Texas corporation, in good

standing. Charles McCluer and Carol McCluer are citizens of the State of Texas. Pursuant to a

uniform Purchase Contract signed in 2004, the McCluer Plaintiffs paid $254,000.00 to the seller

Ritz Carlton Development Company and obtained title to Residence Unit No. 8 consisting of an

undivided 1/12 interest in Residence No. 2306 of the Aspen Highlands Condominiums.

       ww)    Plaintiffs Frank R. Vogl and Emily Vogl are citizens of the District of Columbia.

Pursuant to a uniform Purchase Contract signed in 2004, the Vogl Plaintiffs paid $350,000.00 to

the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 6

consisting of an undivided 1/12 interest in Residence No. 2203 of the Aspen Highlands

Condominiums.

       xx)    Plaintiff Levy Ventures Limited Partnership for the benefit of Elliot Levy is a

Florida partnership. Pursuant to a uniform Purchase Contract signed in 2002, the Levy Plaintiff

paid $174,500.00 to the seller Arnold S. Wood and obtained title to Residence Unit No. 8

consisting of an undivided 1/12 interest in Residence No. 8409 of the Aspen Highlands

Condominiums.

       yy)    Plaintiff DRE, Inc. is an Illinois corporation, in good standing. Dennis Egidi is a

citizen of the State of Illinois. Pursuant to a uniform Purchase Contract signed in 2005, Egidi


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Plaintiff paid $320,000.00 to the sellers Robert E. Walsh and Patricia M. Westcott and obtained

title to Residence Unit No. 6 consisting of an undivided 1/12 interest in Residence No. 8410 of

the Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract

signed in 2005, Egidi Plaintiff paid $266,600.00 to the seller Ritz Carlton Development

Company and obtained title to Residence Unit No. 1 consisting of an undivided 1/12 interest in

Residence No. 8401 of the Aspen Highlands Condominiums. Additionally, pursuant to a uniform

Purchase Contract signed in 2005, Egidi Plaintiff paid $145,000.00 to the seller Ritz Carlton

Development Company and obtained title to an undivided 1/12 interest in Residence No. 2408 of

the Aspen Highlands Condominiums. The interest is described in weeks. Additionally, pursuant

to a uniform Purchase Contract signed in 2006, Egidi Plaintiff paid $265,000.00 to the seller Ritz

Carlton Development Company and obtained title to an undivided 1/12 interest in Residence No.

2401 of the Aspen Highlands Condominiums. The interest is described in weeks.

       zz)     Plaintiffs Robert C. Hubbell and Jan H. Hubbell are citizens of the State of

Colorado. Pursuant to a uniform Purchase Contract signed in 2001, the Hubbell Plaintiffs paid

$180,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 6 consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen

Highlands Condominiums.

       aaa)    Plaintiff David Schaecter is a citizen of the State of Florida. Pursuant to a

uniform Purchase Contract signed in 2001, Schaecter Plaintiff paid $160,000.00 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 24 consisting of an

undivided 1/12 interest in Residence No. 8402 of the Aspen Highlands Condominiums.




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       bbb)   Plaintiffs Vladimir Malakhova and Ludmila Malakhova are citizens of the

State of Florida. Pursuant to a uniform Purchase Contract signed in 2005, the Malakhova

Plaintiffs paid $290,000.00 to the seller Ritz Carlton Development Company and obtained title to

Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 2205 of the

Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed

in 2006, the Malakhova Plaintiffs paid $385,000.00 to the seller Ritz Carlton Development

Company and obtained title to an undivided 1/12 interest in Residence No. 2305 of the Aspen

Highlands Condominiums. The interest is described in weeks.

       ccc)   Plaintiff El Paso Asset Management, LLC is an Alaska limited liability

company, in good standing. Bruce Michael Bridewell is a citizen of the State of Florida.

Pursuant to a uniform Purchase Contract signed in 2003, Bruce Michael Bridewell (deeded to El

Paso Asset Management, LLC in 2010) paid $180,000.00 to the seller Ritz Carlton Development

Company and obtained title to Residence Unit No. 6 consisting of an undivided 1/12 interest in

Residence No. 8408 of the Aspen Highlands Condominiums.

       ddd)   Plaintiffs Samuel H. Pepkowitz and Roberta A. Pepkowitz are a citizens of the

State of California and Trustees of the Pepkowitz Trust (collectively, the “Pepkowitz

Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2006, Samuel Herschel

Pepkowitz and Roberta Ann Pepkowitz (deeded to Pepkowitz Trust in 2003) paid $190,000.00 to

the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 23

consisting of an undivided 1/12 interest in Residence No. 8411 of the Aspen Highlands

Condominiums.




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       eee)    Plaintiff JH Capital Corporation is a voluntary dissolved Florida corporation.

Joe Hassan is a citizen of the State of Florida. Pursuant to a uniform Purchase Contract signed in

2001, Hassan Plaintiff paid $440,000.00 to the seller Ritz Carlton Development Company and

obtained title to Residence Unit No. 8 consisting of an undivided 1/12 interest in Residence No.

4301 of the Aspen Highlands Condominiums.

       fff)    Plaintiffs David S. Blacher and Constance H. Blacher are citizens of the State

of Florida. Pursuant to a uniform Purchase Contract signed in 2003, the Blacher Plaintiffs paid

$230,000.00 to the seller Margie H. Bach and obtained title to Residence Unit No. 9 consisting

of an undivided 1/12 interest in Residence No. 8415 of the Aspen Highlands Condominiums.

       ggg)    Plaintiffs Bryan J. Hawkins and Laura A. Hawkins are citizens of the State of

Oklahoma. Pursuant to a uniform Purchase Contract signed in 2002, the Hawkins Plaintiffs paid

$300,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8315 of the Aspen

Highlands Condominiums.

       hhh)    Plaintiff Bruce Nesbitt is a citizen of the State of Illinois and Trustee of the

Bruce Nesbitt Revocable Trust (collectively the “Nestbitt Plaintiff”). Pursuant to a uniform

Purchase Contract signed in 2001, Bruce M. Nesbitt and Elizabeth W. Nesbitt (deeded to the

Bruce Nesbitt Revocable Trust in 2005) paid $230,000.00 to the seller Ritz Carlton Development

Company and obtained title to Residence Unit No. 3 consisting of an undivided 1/12 interest in

Residence No. 8401 of the Aspen Highlands Condominiums.

       iii)    Plaintiff Monica M. Campanella is a citizen of the State of New York and

Trustee of the Le Befana Trust (collectively, the “Campanella Plaintiff”). Pursuant to a uniform


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Purchase Contract signed in 2006, the Campanella Plaintiff paid $405,000.00 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 1 consisting of an

undivided 1/12 interest in Residence No. 2203 of the Aspen Highlands Condominiums.

       jjj)   Plaintiff Reeta G. Casey is a citizen of the Florida and Trustee of the Reeta G.

Casey Revocable Living Trust (collectively, the “Casey Plaintiff”). Pursuant to a uniform

Purchase Contract signed in 2008, the Casey Plaintiff paid $165,000.00 to the seller Double B

Aspen, LLC, a Texas limited liability company and obtained title to Residence Unit No. 12

consisting of an undivided 1/12 interest in Residence No. 8415 of the Aspen Highlands

Condominiums.

       kkk)   Plaintiffs Anthony F. Prinster and Sally L. Prinster are citizens of the State of

Colorado. Pursuant to a uniform Purchase Contract signed in 2001, the Prinster Plaintiffs paid

$270,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 11 consisting of an undivided 1/12 interest in Residence No. 8301 of the Aspen

Highlands Condominiums.

       lll)   Plaintiff Kevin E. Grant is a citizen of the Commonwealth of Massachusetts.

Pursuant to a uniform Purchase Contract signed in 2010, Grant Plaintiff paid $90,000.00 to the

seller Howard (John) Leonhardt and obtained title to Residence Unit No. 3 consisting of an

undivided 1/12 interest in Residence No. 8415 of the Aspen Highlands Condominiums.

       mmm) Plaintiffs Gilbert P. Gradinger and Sally A. Gradinger are citizens of the State

of California and Trustees of The Gilbert and Sally Gradinger 2001 Revocable Trust

(collectively “Gradinger Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2002,

Gilbert P. Gradinger and Sally A. Gradinger (deeded to The Gilbert and Sally Gradinger 2001


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Revocable Trust in 2011) paid $290,000.00 to the seller Ritz Carlton Development Company and

obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence No.

8315 of the Aspen Highlands Condominiums.

       nnn)   Plaintiffs Jeffrey Rappin and Penny Brown are citizens of the State of Illinois.

Pursuant to a uniform Purchase Contract signed in 2004, the Rappin Plaintiffs paid $225,000.00

to the seller Nicholas Wayne and Danielle R. Wayne and obtained title to Residence Unit No. 8

consisting of an undivided 1/12 interest in Residence No. 8314 of the Aspen Highlands

Condominiums. Additionally, pursuant to a uniform Purchase Contract signed in 2009, the

Rappin Plaintiffs paid $285,000.00 to the seller Ritz Carlton Development Company and

obtained title to Residence Unit No. 6 consisting of an undivided 1/12 interest in Residence No.

8211 of the Aspen Highlands Condominiums.

       ooo)   Plaintiff Milan Randic is a citizen of the State of Iowa and Trustee of the Milan

Randic Trust. Plaintiff Mirjana Randic is a citizen of the State of Iowa and Trustee of the

Mirjana Randic Trust (collectively, the “Randic Plaintiffs”). Pursuant to a uniform Purchase

Contract signed in 2001, the Randic Plaintiffs paid $290,000.00 to the seller Ritz Carlton

Development Company, and obtained title to Residence Interest No. 3 consisting of an undivided

1/12 interest in Residence No. 8303 of the Aspen Highlands Condominiums.

       ppp)   Plaintiffs Charles B. Buchanan and Charlotte S. Buchanan are citizens of the

State of New York. Pursuant to a uniform Purchase Contract signed in 2001, the Buchanan

Plaintiffs paid $190,000.00 to the seller Ritz Carlton Development Company and obtained title to

Residence Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8304 of the

Aspen Highlands Condominiums.


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       qqq)   Plaintiff Annette Kalcheim is a citizen of the State of Illinois and Trustee of the

Annette Kalcheim Trust. Pursuant to a uniform Purchase Contract signed in 2003, the

Kalcheim Plaintiff paid $240,000.00 to the seller Ritz Carlton Development Company, and

obtained title to Residence Interest No. 3 consisting of an undivided 1/12 interest in Residence

No. 8306 of the Aspen Highlands Condominiums.

       rrr)   Plaintiff Mindy Wexler is a citizen of the State of Minnesota and Trustee of the

Mindy R. Wexler Revocable Trust. Pursuant to a uniform Purchase Contract signed in 2009,

Mindy Wexler (deeded to the Mindy R. Wexler Revocable Trust in 2011) paid $117,500.00 to

the seller Ritz Carlton Development Company, and obtained title to Residence Interest No. 12

consisting of an undivided 1/12 interest in Residence No. 8403 of the Aspen Highlands

Condominiums.

       sss)   Plaintiffs John Bergstrom, Norman C. Creech and Susan S. Creech are

citizens of the State of Colorado (collectively “Bergstrom Plaintiffs”). Pursuant to a uniform

Purchase Contract signed in 2004, the Bergstrom Plaintiffs paid $210,000.00 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 7 consisting of an

undivided 1/12 interest in Residence No. 2202 of the Aspen Highlands Condominiums.

       ttt)   Plaintiffs John E. Blanchard, Jennifer Blanchard, Robert Blanchard and

Ellen Blanchard are citizens of the State of Florida. Pursuant to a uniform Purchase Contract

signed in 2007, the Blanchard Plaintiffs paid $285,000.00 to the seller Ritz Carlton Development

Company and obtained title to Residence Unit No. 11 consisting of an undivided 1/12 interest in

Residence No. 2208 of the Aspen Highlands Condominiums.




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       uuu)   Plaintiff Louise B. Hoversten is a citizen of the State of Colorado. Pursuant to a

uniform Purchase Contract signed in 2002, Phillip E. Hoversten and Louise B. Hoversten

(deeded to Louise B. Hoversten in 2004) paid $250,000.00 to the seller Ritz Carlton

Development Company and obtained title to Residence Unit No. 4 consisting of an undivided

1/12 interest in Residence No. 8314 of the Aspen Highlands Condominiums.

       vvv)   Plaintiffs Howard A. Simon and Elizabeth M. Simon are citizens of the State of

Illinois. Pursuant to a uniform Purchase Contract signed in 2011, the Simon Plaintiffs paid

$117,000.00 to the seller Taylor Capital Ventures, LP, a Mississippi limited partnership, and

obtained title to Residence Unit No. 11 consisting of an undivided 1/12 interest in Residence No.

8206 of the Aspen Highlands Condominiums.

       www) Plaintiffs Gary S. Chavin and Pat A. Chavin are citizens of the State of Illinois.

Pursuant to a uniform Purchase Contract signed in 2001, the Chavin Plaintiffs paid $180,000.00

to the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 2

consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen Highlands

Condominiums.

       xxx)   Plaintiff Greg Jacobson is a citizen of the State of California. Pursuant to a

uniform Purchase Contract signed in 2008, the Jacobson Plaintiff paid $220,000.00 to the sellers

Richard S. Ost and Beth Ost, and obtained title to Residence Unit No. 1 consisting of an

undivided 1/12 interest in Residence No. 8314 of the Aspen Highlands Condominiums.

       yyy)   Plaintiffs Douglas Kadison and Carol Kadison are citizens of the State of Texas.

Pursuant to a uniform Purchase Contract signed in 2001, the Kadison Plaintiffs paid $260,000.00

to the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 7


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consisting of an undivided 1/12 interest in Residence No. 8208 of the Aspen Highlands

Condominiums.

       zzz)    Plaintiff Joseph Fryzer is citizen of the State of California. Pursuant to a uniform

Purchase Contract signed in 2003, the Fryzer Plaintiff paid $250,000.00 to the seller Ritz Carlton

Development Company and obtained title to Residence Unit No. 6 consisting of an undivided

1/12 interest in Residence No. 8216 of the Aspen Highlands Condominiums.

       aaaa) Plaintiff Danny V. Lackey is a citizen of the State of North Carolina and Trustee

of the Danny V. Lackey Living Trust. Plaintiff Nancy L. Lackey is a citizen of the State of

North Carolina and Trustee of the Nancy L. Lackey Living Trust (collectively, the “Lackey

Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2006, the Lackey Plaintiffs paid

$257,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 10 consisting of an undivided 1/12 interest in Residence No. 2205 of the Aspen

Highlands Condominiums.

       bbbb) Plaintiffs H.M. Palm and Margaret Palm are citizens of the State of Texas.

Pursuant to a uniform Purchase Contract signed in 2003, the Palm Plaintiffs paid $220,000.00 to

the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 8

consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen Highlands

Condominiums.

       cccc) Plaintiffs Paul C. Rosenthal and Carla P. Rosenthal are citizens of the State of

Maryland. Pursuant to a uniform Purchase Contract signed in 2007, the Rosenthal Plaintiffs paid

$235,000.00 to the sellers Peter N. Louras, Jr. and Mary M. Louras, Trustees of the Peter and

Mary Louras Trust, a California Trust, and obtained title to Residence Unit No. 12 consisting of


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an undivided 1/12 interest in Residence No. 8308 of the Aspen Highlands Condominiums.

Additionally, pursuant to a uniform Purchase Contract signed in 2009, the Rosenthal Plaintiffs

paid $139,500.00 to the seller Ritz Carlton Development Company and obtained title to

Residence Unit No. 9 consisting of an undivided 1/12 interest in Residence No. 8410 of the

Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed

in 2012, the Rosenthal Plaintiffs paid $100,000.00 to the sellers Janice Penrose and Chris

Penrose and obtained title to Residence Unit No. 11 consisting of an undivided 1/12 interest in

Residence No. 8307 of the Aspen Highlands Condominiums.

       dddd) Plaintiffs David A. Figliulo and Lesa A. Figliulo are citizens of the State of

Illinois and Trustees of The David & Lesa Figliulo Family Revocable Living Trust

(collectively, the “Figliulo Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2008,

David A. Figliulo and Lesa A. Figliulo (deeded to The David & Lesa Figliulo Family Revocable

Living Trust in 2015) paid $495,000.00 to the seller Ritz Carlton Development Company, and

obtained title to Residence Interest No. 3 consisting of an undivided 1/12 interest in Residence

No. 8307 of the Aspen Highlands Condominiums.

       eeee) Plaintiffs Walter H. Petrie and Nancy A. Petrie are citizens of the State of

Maryland. Pursuant to a uniform Purchase Contract signed in 2004, the Petrie Plaintiffs paid

$260,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 4 consisting of an undivided 1/12 interest in Residence No. 8306 of the Aspen

Highlands Condominiums.

       ffff)   Plaintiffs Kenneth Tompkins and Kimberly Tompkins are citizens of the State

of Virginia. Pursuant to a uniform Purchase Contract signed in 2003, the Tompkins Plaintiffs


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paid $275,000.00 to the seller Sylvia Beatty and obtained title to Residence Unit No. 4 consisting

of an undivided 1/12 interest in Residence No. 8308 of the Aspen Highlands Condominiums.

       gggg) Plaintiff Barbara L. Palazzolo is a citizen of the State of Michigan and Trustee

of the Barbara L. Palazzolo Revocable Trust (collectively, the “Palazzolo Plaintiff”). Pursuant

to a uniform Purchase Contract signed in 2003, Sebastian Palazzolo and Barbara Palazzolo, the

original purchasers (deeded to the Barbara L. Palazzolo Revocable Trust in 2007)             paid

$240,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 6 consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen

Highlands Condominiums.

       hhhh) Plaintiffs Dana James Weinkle and Susan Holloway Weinkle are citizens of the

State of Florida. Pursuant to a uniform Purchase Contract signed in 2009, the Weinkle Plaintiffs

paid $165,000.00 to the seller Lon M. Baronne and Karen G. Baronne and obtained title to

Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 2301 of the

Aspen Highlands Condominiums.

       iiii)   Plaintiffs Evan Rabinowitz and Ami Rabinowitz are citizens of the State of

Florida and Trustees of the Ami Rabinowitz Trust (collectively, the “Rabinowitz Plaintiffs”).

Pursuant to a uniform Purchase Contract signed in 2006, the Rabinowitz Plaintiffs paid

$420,000.00 to the seller Arthur Falcone, Trustee of the Arthur Falcone Revocable Living Trust,

a Florida Trust, and obtained title to Residence Interest No. 2 consisting of an undivided 1/12

interest in Residence No. 8210 of the Aspen Highlands Condominiums.

       jjjj)   Plaintiff Kona, Ltd. is a Texas limited partnership, in good standing. Ryan M.

Youngblood is a citizen of the State of Texas and manager of Kona, Ltd. Pursuant to a uniform


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Purchase Contract signed in 2004, Youngblood Plaintiff paid $295,000.00 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 21 consisting of an

undivided 1/12 interest in Residence No. 8201 of the Aspen Highlands Condominiums.

       kkkk) Plaintiffs Steve V. Gurland and Caroline I. Gurland are citizens of the State of

Florida. Pursuant to a uniform Purchase Contract signed in 2004, the Gurland Plaintiffs paid

$160,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 10 consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen

Highlands Condominiums.

       llll)   Plaintiff Spencer L. Youngblood Family Partnership Ltd. is a Texas limited

partnership, in good standing. Spencer L. Youngblood is a citizen of the State of Texas and

manager of Spencer L. Youngblood Family Partnership Ltd. Pursuant to a uniform Purchase

Contract signed in 2001, Spencer Youngblood Plaintiff paid $230,000.00 to the seller Ritz

Carlton Development Company and obtained title to Residence Unit No. 8 consisting of an

undivided 1/12 interest in Residence No. 8205 of the Aspen Highlands Condominiums.

       mmmm)          Plaintiffs Kenneth D. Cushman and Carol A. Cushman are citizens of

the State of Texas. Pursuant to a uniform Purchase Contract signed in 2001, the Cushman

Plaintiffs paid $290,000.00 to the seller Ritz Carlton Development Company and obtained title to

Residence Unit No. 8 consisting of an undivided 1/12 interest in Residence No. 8305 of the

Aspen Highlands Condominiums.

       nnnn) Plaintiffs Dan Moskowitz and Wendy Moskowitz are citizens of the State of

New York. Pursuant to a uniform Purchase Contract signed in 2009, the Moskowitz Plaintiffs

paid $120,000.00 to the seller Ritz Carlton Development Company and obtained title to


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Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence No. 2208 of the

Aspen Highlands Condominiums.

       oooo) Plaintiffs Gary Sheldon Kohler and Deborah Joy Kohler are citizens of the

State of Minnesota. Pursuant to a uniform Purchase Contract signed in 2011, the Kohler

Plaintiffs paid $115,000.00 to the seller Ritz Carlton Development Company and obtained title to

Residence Unit No. 12 consisting of an undivided 1/12 interest in Residence No. 8215 of the

Aspen Highlands Condominiums.

       pppp) Plaintiffs Lewis J. Hirsch and Gayle Hirsch are citizens of the State of Illinois.

Pursuant to a uniform Purchase Contract signed in 2005, the Hirsch Plaintiffs paid $180,000.00

to the seller 831 701 Ontario Limited, a Canadian corporation, and obtained title to Residence

Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen

Highlands Condominiums.

       qqqq) Plaintiff Bradley Properties, LLC is an Alabama limited liability company, in

good standing. Merrill N. Bradley and Julia H. Bradley are citizens of the State of Alabama

(collectively the “Bradley Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2002,

Merrill N. Bradley and Julia H. Bradley, the original purchasers (deeded to Bradley Properties,

LLC in 2004) paid $290,000.00 to the seller Ritz Carlton Development Company and obtained

title to Residence Unit No. 6 consisting of an undivided 1/12 interest in Residence No. 8209 of

the Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract

signed in 2002, Merrill N. Bradley and Julia H. Bradley, the original purchasers (deeded to

Bradley Properties, LLC in 2004) paid $265,000.00 to the seller Ritz Carlton Development




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Company and obtained title to Residence Unit No. 12 consisting of an undivided 1/12 interest in

Residence No. 8209 of the Aspen Highlands Condominiums.

       rrrr)   Plaintiff Anna P. Zalk is a citizen of the State of New Jersey. Pursuant to a

uniform Purchase Contract signed in 2003, Anna P. Zalk and Kenneth Zalk (deeded to Anna P.

Zalk in 2011) paid $240,000.00 to the sellers Jim Hyssen and Merita Hyssen, and obtained title

to Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 8209 of the

Aspen Highlands Condominiums.

       ssss)   Plaintiff David Jackel Trustee is a citizen of the State of California and Trustee

of the Mountain Drive Trust (collectively, the “Jackel Plaintiff”). Pursuant to a uniform

Purchase Contract signed in 2003, Jackel Plaintiff paid $350,000.00 to the seller Ritz Carlton

Development Company, and obtained title to Residence Interest No. 3 consisting of an undivided

1/12 interest in Residence No. 2203 of the Aspen Highlands Condominiums. Additionally,

pursuant to a uniform Purchase Contract signed in 2006, Jackel Plaintiff paid $455,000.00 to the

seller Ritz Carlton Development Company, and obtained an undivided 1/12 interest in Residence

No. 2207 of the Aspen Highlands Condominiums. The interest is described in weeks.

Additionally, pursuant to a uniform Purchase Contract signed in 2008, Jackel Plaintiff paid

$277,000.00 to the seller Ritz Carlton Development Company, and obtained an undivided 1/12

interest in Residence No. 2304 of the Aspen Highlands Condominiums. The interest is described

in weeks.

       tttt)   Plaintiffs William M. Waxman, a citizen of the State of Texas and Alan S.

Waxman, a citizen of the State of New York (collectively “Waxman Plaintiffs”). Pursuant to a

uniform Purchase Contract signed in 2004, the Waxman Plaintiffs paid $250,000.00 to the seller


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Ritz Carlton Development Company and obtained title to Residence Unit No. 8 consisting of an

undivided 1/12 interest in Residence No. 2208 of the Aspen Highlands Condominiums.

       uuuu) Plaintiffs Timothy J. Hyland and Natalie B. Hyland are citizens of the State of

Arizona and Trustees of the Hyland Revocable Living Trust (collectively, the “Hyland

Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2004, the Hyland Plaintiffs paid

$200,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 11 consisting of an undivided 1/12 interest in Residence No. 8403 of the Aspen

Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed in

2005, the Hyland Plaintiffs paid $347,500.00 to the sellers Harold J. Bouillion and Charlene L.

Bouillion, and obtained title to Residence Interest No. 10 consisting of an undivided 1/12 interest

in Residence No. 8301 of the Aspen Highlands Condominiums.

       vvvv) Plaintiff Neil Spizizen Trustee is a citizen of the State of Michigan and Trustee

of the Neil Spizizen Trust (collectively, the “Spizizen Plaintiff”). Pursuant to a uniform

Purchase Contract signed in 2006, Spizizen Plaintiff paid $495,000.00 to the seller Ritz Carlton

Development Company, and obtained title to Residence Interest No. 2 consisting of an undivided

1/12 interest in Residence No. 8207 of the Aspen Highlands Condominiums.

       wwww)          Plaintiffs D. L. Wilkey and Julie Janicek-Wilkey are citizens of the State

of New Mexico. Pursuant to a uniform Purchase Contract signed in 2003, the Wilkey Plaintiffs

paid $240,000.00 to the seller Ritz Carlton Development Company and obtained title to

Residence Unit No. 2 consisting of an undivided 1/12 interest in Residence No. 8311 of the

Aspen Highlands Condominiums.




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       xxxx) Plaintiffs Cass Franklin and Vera Stewart Franklin are citizens of the State of

Iowa. Pursuant to a uniform Purchase Contract signed in 2005, the Franklin Plaintiffs paid

$490,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8307 of the Aspen

Highlands Condominiums.

       yyyy) Plaintiffs Daryl Cramer, Heather Cramer and Hope S. Barkan (collectively

the “Cramer Plaintiffs”) are citizens of the State of Colorado. Pursuant to a uniform Purchase

Contract signed in 2003, the Cramer Plaintiffs paid $219,000.00 to the seller Ritz Carlton

Development Company and obtained title to Residence Unit No. 4 consisting of an undivided

1/12 interest in Residence No. 8214 of the Aspen Highlands Condominiums.

       zzzz) Plaintiff Jacob Louis Slevin is a citizen of the State of Louisiana. Pursuant to a

uniform Purchase Contract signed in 2006, Maury B. Slevin and Jacob Louis Slevin (deeded to

Jacob Louis Slevin in 2015) paid $382,500.00 to the sellers Lon M. Baronne and Karen G.

Baronne and obtained title to an undivided 1/12 interest in Residence No. 2312 of the Aspen

Highlands Condominiums. The interest is described in weeks.

       aaaaa) Plaintiff Ronald Lawrence Glazer is a citizen of the State of California and

Trustee of the Ronald Lawrence Glazer Trust. Plaintiff Christiane Nicolini Glazer is a citizen

of the State of California and Trustee of the Christiane Nicolini Glazer Trust (collectively, the

“Glazer Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2006, the Glazer

Plaintiffs paid $300,000.00 to the seller Ritz Carlton Development Company, and obtained title

to Residence Interest No. 2 consisting of an undivided 1/12 interest in Residence No. 2405 of the

Aspen Highlands Condominiums.


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       bbbbb) Plaintiff Erich Tengelsen is a citizen of the State of Illinois. Pursuant to a

uniform Purchase Contract signed in 2004, Tengelsen Plaintiff paid $230,000.00 to the seller

Ritz Carlton Development Company, and obtained title to Residence Interest No. 2 consisting of

an undivided 1/12 interest in Residence No. 2202 of the Aspen Highlands Condominiums.

       ccccc) Plaintiffs Charles A. Gottlob and Cynthia G. Gottlob are citizens of the State of

Colorado. Pursuant to a uniform Purchase Contract signed in 2003, the Gottlob Plaintiffs paid

$210,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 8 consisting of an undivided 1/12 interest in Residence No. 8106 of the Aspen

Highlands Condominiums.

       ddddd) Plaintiff Lucy D. Anda is a citizen of the State of New York. Pursuant to a

uniform Purchase Contract signed in 2006, Anda Plaintiff paid $510,000.00 to the seller Ritz

Carlton Development Company, and obtained title to an undivided 1/12 interest in Residence

No. 2401 of the Aspen Highlands Condominiums. The interest is described in weeks.

       eeeee) Plaintiff Neil G. Arnovitz is a citizen of Canada. Pursuant to a uniform Purchase

Contract signed in 2004, Arnovitz Plaintiff paid $216,600.00 to the seller William S. Weisman

and Lauren B. Weisman, obtained title to Residence Interest No. 1 consisting of an undivided

1/12 interest in Residence No. 8202 of the Aspen Highlands Condominiums. Additionally,

pursuant to a uniform Purchase Contract signed in 2005, Arnovitz Plaintiff paid $195,000.00 to

the seller Ritz Carlton Development Company, and obtained an undivided 1/12 interest in

Residence No. 2408 of the Aspen Highlands Condominiums. The interest is described in weeks.

       fffff)   Plaintiff Melissa T. Crowley Trustee is a citizen of the State of Colorado and

Trustee of the Peter Charles Crowley Trust (collectively, the “Crowley Plaintiff”). Pursuant to


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a uniform Purchase Contract signed in 2001, Crowley Plaintiff paid $200,000.00 to the seller

Ritz Carlton Development Company, and obtained title to Residence Interest No. 5 consisting of

an undivided 1/12 interest in Residence No. 8104 of the Aspen Highlands Condominiums.

       ggggg) Plaintiffs Patrick A. Lattore and Dee P. Lattore are citizens of the State of

Nevada. Pursuant to a uniform Purchase Contract signed in 2010, the Lattore Plaintiffs paid

$116,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

Unit No. 11 consisting of an undivided 1/12 interest in Residence No. 8212 the Aspen Highlands

Condominiums.

       hhhhh) Plaintiffs Rocky J. Mountain and Janet M. Mountain are citizens of the State of

Texas. Pursuant to a uniform Purchase Contract signed in 2005, the Mountain Plaintiffs paid

$370,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 9 consisting of an undivided 1/12 interest in Residence No. 2407 of the Aspen

Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed in

2007, the Mountain Plaintiffs paid $318,250.00 to the seller Ritz Carlton Development

Company, and obtained title to Residence Interest No. 1 consisting of an undivided 1/12 interest

in Residence No. 2208 of the Aspen Highlands Condominiums.

       iiiii)   Plaintiffs Phyllis Schofield and William F. Schofield, Jr. are citizens of the State

of Florida. Pursuant to a uniform Purchase Contract signed in 2006, Schofield Plaintiffs paid

$220,000.00 to the seller Ritz Carlton Development Company, and obtained title to an undivided

1/12 interest in Residence No. 2410 of the Aspen Highlands Condominiums. The interest is

described in weeks.




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       jjjjj)   Plaintiffs Mark L. Horwitz and Susan J. Horwitz are citizens of the State of

Florida. Pursuant to a uniform Purchase Contract signed in 2008, the Horwitz Plaintiffs paid

$189,000.00 to the seller Ritz Carlton Development Company, and obtained title to an undivided

1/12 interest in Residence No. 2303 of the Aspen Highlands Condominiums. The interest is

described in weeks.

       kkkkk) Plaintiffs Joel Sacher and Susan J. Sacher are citizens of the State of New

Jersey. Pursuant to a uniform Purchase Contract signed in 2001, the Sacher Plaintiffs paid

$250,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

Interest No. 3 consisting of an undivided 1/12 interest in Residence No. 8209 of the Aspen

Highlands Condominiums

       lllll)   Plaintiff C & N Assets, Ltd. is a Texas limited partnership, in good standing.

Heyward Taylor is a citizen of the State of Texas. Pursuant to a uniform Purchase Contract

signed in 2001, Taylor Plaintiff paid $270,000.00 to the seller Ritz Carlton Development

Company and obtained title to Residence Unit No. 9 consisting of an undivided 1/12 interest in

Residence No. 8315 of the Aspen Highlands Condominiums.

       mmmmm)          Plaintiff Lisa Mottola Trustee is a citizen of the State of California and

Trustee of the Lisa Mottola Trust (collectively, the “Mottola Plaintiff”). Pursuant to a uniform

Purchase Contract signed in 2004, Mottola Plaintiff paid $260,000.00 to the seller Ritz Carlton

Development Company, and obtained title to Residence Interest No. 6 consisting of an undivided

1/12 interest in Residence No. 2204 of the Aspen Highlands Condominiums.

       nnnnn) Plaintiff Mel A. Barkan is a citizen of the Commonwealth of Massachusetts.

Pursuant to a uniform Purchase Contract signed in 2001, Barkan Plaintiff paid $250,000.00 to


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the seller Ritz Carlton Development Company, obtained title to Residence Interest No. 3

consisting of an undivided 1/12 interest in Residence No. 8308 of the Aspen Highlands

Condominiums.

       B.      Defendants

        14.    Defendant Marriott Vacations Worldwide Corporation (“MVW”) is a publicly

traded Delaware corporation with its principal place of business at 6649 Westwood Boulevard,

Orlando, Florida. MVW is the parent and/or an affiliate company of the other Defendants and

was involved in and responsible for the wrongful conduct alleged herein. Marriott Vacations

Worldwide Corporation or MVC are sometimes referred to herein as Marriott.

       15.     Defendant Marriott Ownership Resorts, Inc., d.b.a. Marriott Vacation Club

International (“MVCI”) is a Delaware corporation, and a wholly owned subsidiary of Marriott.

Its principal place of business is at 6649 Westwood Boulevard, Orlando, Florida, and it is

authorized to do business in Colorado. MVCI was involved in and responsible for the wrongful

conduct alleged herein.

       16.     Defendant Aspen Highlands Condominium Association, Inc. (“Association”) is

a Colorado non-profit corporation that serves as the official “Owners Association” for Ritz

Carlton Aspen Owners.

       17.     Defendant Ritz-Carlton Management Company, LLC (“RC Management”) is

another wholly owned MVW subsidiary, and a Delaware limited liability company. Defendant

RC Management has a principal place of business at 6649 Westwood Boulevard, Suite 500,

Orlando, Florida, and is authorized to do business in Colorado.




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       18.    Defendant The Cobalt Travel Company, LLC (“Cobalt”) (formerly known as

the Ritz-Carlton Travel Company, LLC) is a Delaware limited liability company, has a principal

place of business at 6649 Westwood Boulevard, Suite 500, Orlando, Florida, and is authorized to

do business in Colorado.

       19.    Defendant The Lion & Crown Travel Co., LLC (“L&C”) is a Delaware limited

liability company formed in 2008 and is authorized to do business in Colorado. L&C is a wholly

owned subsidiary of RC Development.

                            IV.    SOURCE OF FIDUCIARY DUTIES

       20.    There are multiple sources of fiduciary duties arising out of the documents

governing the management, operation and use of the Ritz-Carlton Club, Aspen Highlands,

including the Articles of Incorporation of Aspen Highlands Condominium Association, Inc.,

(“Articles”), the Declaration of Condominium for Aspen Highlands Condominium

(“Declaration”), The Ritz-Carleton Management Company, LLC Management Agreement

(Management Agreement), and the Ritz-Carlton Club Membership Program Affiliation

Agreement, (“Affiliation Agreement”).

       A.     Aspen Highlands Condominium Association

       21.    The Association was created on December 9, 1999 upon filing with the Colorado

Secretary of State the Articles of Incorporation of Aspen Highlands Condominium Association,

Inc. Amended and Restated Articles of Incorporation of Aspen Highlands Condominium

Association, Inc. were filed with the Colorado Secretary of State on November 2, 2000.




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        22.     According to the Amended Articles: “The primary purpose for which the

Association is organized is to manage, administer, operate and maintain” the Aspen Highlands

Condominiums.

        23.     Pursuant to Article V. of the Articles, the powers of the Association, include: “To

operate, manage, administer, insure, repair, replace, reconstruct and improve the Condominium”

(Article 5.1); “To operate, manage and administer the Plan of Fractional Ownership that may be

created in the Condominium by the Declarant” (Article 5.2); “To contract for the management of

the Condominium and to delegate to such contractor all powers and duties of the Association

except such as are specifically required by the various Association Documents or Colorado law

to have approval of the board of directors or the members of the Association” (Article 5.7); and,

“To enter into agreements providing for the participation of Owners of Fractional Interests in

those units committed to a Plan of Fractional Ownership in an exchange system or network of

resorts allowing for reciprocal use of resort properties by owners of fractional ownership

interests in the Condominium” (Article 5.11).

        24.     Defendant Association owed and owes fiduciary duties to buyers of Fractional

Units, including Plaintiffs and Ritz Carlton Aspen Owners, including but not limited to a duty of

loyalty and duty to enforce restrictive covenants set forth in the Declaration of Condominium for

Aspen Highlands Condominiums.2 The scope of this fiduciary duty extends beyond the norm for

condominium associations based on the delegation and assumption of authority over not just the

common areas, but also the fractional units themselves.



2
  See, Woodward v. Board of Directors of Tamarron Association of Condominium Owners, Inc., 155 P.3d 621,624
(Colo. App. 2007); Colorado Homes, Ltd. v. Loerch-Wilson, 43 P.3d 718, 722 (Colo. App. 2001).

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       B.      Ritz-Carlton Management Company

       25.     On January 12, 2001, Defendants Association and RC Management, entered into

a written agreement, designated “Management Agreement.” Pursuant to paragraph 2, captioned

“Appointment and Acceptance of Agency,” the Association employed RC Management “to act

on behalf of the Association and its members as the exclusive managing entity and to manage

the daily affairs of the Condominium and the (Fractional Ownership Interest) Plan, and (RC

Management) hereby agrees to so act.” (Emphasis added.) A copy of the Management

Agreement is attached hereto as EXHIBIT A.

       26.     Pursuant to paragraph 4 of the Management Agreement, captioned “Delegation of

Authority,” Association delegates to RC Management “all of the power and authority of

(Association) to the extent necessary to perform (RC Management’s) duties and obligations

under this agreement.” In addition, paragraph 4 provides: “(RC Management), on behalf of

and at the expense of (Association), to the exclusion of all other persons including the

(Association) and its members, shall have all the powers and duties of the Executive Board

as set forth in the Declaration and the bylaws of the (Association) (except such thereof as are

specifically required to be exercised by its directors or members), and it shall perform, by way of

illustration and not limitation, (the services set forth in paragraphs 4(A) through 4(V) . . . .”

(Emphasis Added.)

       27.     Paragraph 4(A) of the Management Agreement provides RC Management with

the exclusive authority to “Hire, pay, supervise and discharge all persons necessary to be

employed in order to properly manage, maintain, administer and operate the Condominium and

(Fractional Ownership Interest) Plan.”


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       28.      Paragraph 4(F) of the Management Agreement provides RC Management with the

exclusive authority to “Maintain the (Association’s) financial record book, accounts and other

records, and as necessary, issue certificate of account to Owners and their Mortgagees . . . .”

       29.      Paragraph 4(H) of the Management Agreement provides RC Management with

the exclusive authority to “Prepare the itemized annual budget for the (Association) or revisions

to the budget, or a combination thereof, (that RC Management) determines necessary for

submission to the Executive Board.”

       30.      Paragraph 4(I) of the Management Agreement provides RC Management with the

“authority and responsibility to maintain and replace the personal property within the Common

Elements and the (Fractional Units), and to determine the maintenance fee, proration of taxes,

and other common expenses applicable to those Common Elements and (Fractional Units), as

defined in and provided for in the Declaration.

       31.      Paragraph 4(J) of the Management Agreement provides RC Management with the

exclusive authority to “Receive and deposit all funds collected from the Owners, or otherwise

accruing to the Association, in a special account or accounts of (RC Management) . . . .”

       32.      Paragraph 4(L) of the Management Agreement provides RC Management “shall

have sole authority to promulgate and amend rules and regulations for the (Fractional Units) and

Limited Common Elements of the (Fractional Units) subject to the (Fractional Unit) Directors to

revise, repeal or modify such amended rules and regulations and subject to the provisions of the

Declaration.”

       33.      Paragraph 4(N) of the Management Agreement provides RC Management with

the authority to “Retain and employ such professionals and such experts whose services may be


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reasonably required to effectively perform its duties and exercise its powers hereunder, and to

employ same on such basis as it deems appropriate.”

       34.     Perhaps most importantly, Paragraph 4(S) of the Management Agreement

provides RC Management with the authority to “Engage a Program Manager through an

affiliation agreement, who shall manage and administer the reservation procedures and exchange

program for the Ritz-Carlton Club Membership Program (the ‘Membership Program’) through

which Owners of Residence Interests reserve the use of accommodations at a Club as defined in

and pursuant to The Ritz-Carlton Club Membership Program Reservation Procedures

(‘Reservation Procedures’). The Program Manager shall have the broadest possible delegation of

authority regarding administration of the Reservation Procedures . . . . RC Management on

behalf of (the Association shall assess the Owners of (Fractional Units) the reasonable cost (as

determined by the Program Manager) of operating such Reservation Procedures, which cost shall

be included as part of Club dues.”

       35.     Paragraph 14 of the Management Agreement provides that RC Management

“shall receive an annual net fee, free from charges and expenses” of Six Hundred Dollars ($600)

per Residence Interest from the Owners of the (Fractional Units) . . .”

       36.     Based upon these and other terms of the Management Agreement and also by

operation of law, RC Management is the agent of the Association and Fractional Unit Owners,

including Plaintiffs and Ritz Carlton Aspen Owners, and as such, owes the Association, Plaintiffs

and Ritz Carlton Aspen Owners fiduciary duties, including the duties of loyalty, avoiding self-

dealing, and to enforce the restrictive covenants set forth in the Declaration of Condominium for




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Aspen Highlands. These fiduciary duties also flow from the fact RC Management was given

control over the Fractional Units.

       37.     Based upon the high degree of control over Plaintiffs’ and Ritz Carlton Aspen

Owners' Fractional Units arising from its authority as set forth in the Management Agreement,

RC Management owes Plaintiffs and Ritz Carlton Aspen Owners fiduciary duties, including a

duty of loyalty, duty to avoid self-dealing, and duty to enforce the restrictive covenants set forth

in the Declaration of Condominium for Aspen Highlands.

       C.      The Cobalt Travel Company

       38.     Defendant Cobalt entered into a four party agreement titled “The Ritz-Carlton

Club Membership Program Affiliation Agreement” (“Affiliation Agreement”) with the Ritz-

Carlton Development Company (“RC Development”) (the seller of the fractional interests at

issue, a wholly owned subsidiary of MVW, and the sole manager and member of Defendants RC

Management and Cobalt) and Defendants RC Management and the Association. Pursuant to the

Affiliation Agreement, the Ritz-Carlton Club, Aspen Highlands and the purchasers of Fractional

Units including Plaintiffs and Ritz Carlton Aspen Owners, became affiliated with and members

of the Ritz-Carlton Membership Program.

       39.     Paragraph 1.2 of the Affiliation Agreement provided: “By acceptance of a

conveyance of a Residence Interest at the Club . . . each Member is deemed to have consented to

the terms and conditions of this Agreement and to have further consented to the appointment of

the Members Association as the authorized representative to act on behalf of the Members with

respect to the provisions of this Agreement. Whenever the Members Association’s

acknowledgment, consent, understanding and/or agreement is stated or implied in this


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Agreement, such acknowledgment, consent, understanding and/or agreement shall be deemed to

also have been given by the Board of Directors, if applicable, and each Member.

       40.      Pursuant to the terms of the Affiliation Agreement, Defendant Cobalt is the

Program Manager of the Ritz-Carlton Club Membership Program and also operates the

reservation system through which Ritz Carlton Aspen Owners obtain use of their allotted number

of days at the Ritz Aspen Highlands and obtain access to the sister Ritz-Carlton Destination

Clubs in the Ritz-Carlton Club Membership Program. The Affiliation Agreement provides: “The

Program Manager may, in its sole discretion, elect to affiliate other locations with the

Membership Program as Member Clubs or Associated Clubs from time to time. Neither the

Developer, Members Association, nor Club Manager shall be entitled to participate in or

consent to the Program Manager’s decision in this regard.” (Emphasis added.) A copy of the

Affiliation Agreement is attached hereto as EXHIBIT B.

       41.      Based upon the terms of the Management Agreement and the Affiliation

Agreement, Cobalt is the agent or subagent of the Association and Fractional Unit owners,

including Plaintiffs and Ritz Carlton Aspen Owners, and as such, owes the Association, Plaintiffs

and Ritz Carlton Aspen Owners fiduciary duties, including a duty of loyalty and duty to avoid

self-dealing.

       42.      Based upon the high degree of control over Plaintiffs’ and Ritz Carlton Aspen

Owners’ Fractional Units arising from its authority as set forth in the Affiliation Agreement,

Cobalt owes Plaintiffs and Ritz Carlton Aspen Owners fiduciary duties, including a duty of

loyalty and duty to avoid self-dealing.




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       43.     As described herein, Defendant Cobalt, in violation of its fiduciary duties to

Plaintiffs and Ritz Carlton Aspen Owners, and aided and abetted in said fiduciary duty violations

by the other Defendants, entered into an Affiliation Agreement with L&C, which allows some or

all of the over 400,000 members of Defendant MVW’s Marriott Vacation Club who are able to

acquire sufficient points in the Marriott Vacation Club Destinations system, to use the Fractional

Units at the Ritz-Aspen Highlands. These breaches of fiduciary duty caused a great diminution in

the value of Plaintiffs and Ritz Carlton Aspen Owners’ Fractional Units, and unjustly enriched

the other Defendants, including MVW, MVCI, RC Management and Cobalt at the expense of

Plaintiffs and Ritz Carlton Aspen Owners.

       44.     MVW directly, and indirectly through wholly owned subsidiaries, exerted control

over Ritz-Carlton Club, Aspen Highlands and the other Defendants, because, inter alia: 1)

MVW’s lawyers drafted the Management Agreement that provided its wholly owned subsidiary,

RC Management full control of the operation of the Association and the Association Board at the

Ritz-Carlton Club, Aspen Highlands; 2) RC Management and Cobalt were shell companies

serviced by persons technically employed by MVW and/or MVCI; 3) the costs and revenues

generated in connection with Ritz-Carlton Club, Aspen Highlands by MVW, MVCI, RC

Management and Cobalt were accounted for in MVW’s consolidated financials; 4) employees

providing services to MVCI, RC Management, and Cobalt were treated as MVW employees.

       45.     Each and all of the Defendants (directly and/or indirectly through individual

agents, representatives, employees, principals, officers, directors and members) (a) actively or

passively participated in the conduct, acts and omissions alleged herein, (b) materially assisted,

aided, abetted and/or conspired with one or more other Defendants in committing the conduct,


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acts, and omissions alleged herein, (c) purposely, knowingly, recklessly, or negligently planned,

directed, implemented, furthered, and/or consented to conduct, acts and omissions alleged herein,

and/or (d) is directly, vicariously, jointly, and/or severally liable for the conduct, acts, and

omissions alleged herein.

       46.     Each of the Defendants are (a) are the agents, representatives, alter egos, and/or

instrumentalities of their respective principals or controlling entities, (b) have interlocking or

overlapping directors and/or officers with their respective principals or controlling entities, (c)

are undercapitalized and/or spurious or disregarded corporate form, (d) and for which “piercing

the corporate veil” is or may be necessary and appropriate to prevent injustice and inequity to

Plaintiffs and Ritz Carlton Aspen Owners .

       47.     On July 17, 2012, Ms. Eveleen Babich, General Manager of Defendant Cobalt

wrote Plaintiffs and Ritz Carlton Aspen Owners a letter (on Ritz Carlton Destination Club

letterhead), stating that “Based on the Ritz-Carlton Destination Club member feedback,

additional benefits and experiences will be available through a new affiliation with Marriott

Vacation Club Destinations . . . Affiliation will extend to you the opportunity to deposit your

Reserved Allocation on an annual basis. Once you deposit, the following will be available for

you: . . . Secure any of the 51 worldwide Marriott Vacation Club Resorts . . .” A copy of the July

17, 2012 Letter from Eveleen Babich is attached hereto as EXHIBIT C.

       48.     Eveleen Babich’s July 17, 2012 letter did not specify whether this proposed

affiliation would allow the 400,000 Marriott Vacation Club members to access the Ritz Carlton

Club locations and in fact assured Ritz Carlton Aspen Owners that “nothing about the Home

Club Membership…has changed” as a result of this affiliation.


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        49.      This announcement proposing a new affiliation agreement with Defendant

MVW’s Marriott Vacations Club Destinations program generated extreme concern amongst the

various “member controlled” Boards of Directors of the various Ritz-Carlton Destination Clubs.

For instance, in a letter dated August 3, 2012, the Association Board of the Ritz Carlton Club-St.

Thomas wrote to its members:

        We have been in frequent communications with each other and the Presidents of
        the other RCDC Clubs since this announcement. Our general but preliminary
        consensus regarding the ‘evolution’ of the RCDC brand as described in Eveleen
        Babich’s letter of July 17th is that we are concerned that this may not be an
        enhancement to our Membership Interests. We all, as members, invested in the
        Ritz-Carlton brand!

A copy of the August 3, 2012 Letter from the association board of the Ritz Carlton Club-St.

Thomas is attached hereto as EXHIBIT D.

        50.      On August 10, 2012, the Association Board of the Ritz Carlton Club-Jupiter wrote

to its members:


                 We were disappointed as to how Ritz Carlton, Marriott Vacations
                 Worldwide Corporation and Cobalt Travel Company, LLC (‘RCDC
                 Parties’) separately and collectively chose to characterize these matters
                 they have defined as the “evolution of the RCDC brand.” No input from
                 your Board of Directors or, to our knowledge, any of the other RCDC
                 Club Boards was ever solicited by these companies while they determined
                 these significant changes to the RCDC system in which we all own a
                 Membership Interest.

        A copy of the August 10, 2012 Letter from the association board of the Ritz Carlton

Club-St. Thomas is attached hereto as EXHIBIT E. 3


3
  Ultimately the announced intention to affiliate the Marriot Vacation Club Destinations program, with its over
400,000 members, caused the Condominium Association Boards of Ritz-Bachelor Gulch and Ritz-Jupiter Clubs to
put a vote to their members as to whether to terminate their management agreements with RC Management and
Cobalt. In 2013 and 2014, respectively, both of these clubs’ memberships voted to terminate the management
agreements with Defendant RC Management, and both clubs have since left the system.

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       51.    On August 17, 2012, Lee Cunningham, the Executive Vice President and Chief

Operating Officer of Defendant MVCW, wrote a letter (on Ritz Carlton Destination Club

letterhead) to all Ritz Carlton Destination Club Members, including Plaintiffs, “to provide you

further information regarding certain changes announced on July 17th to the Lion and Crown

Travel Company and The Ritz-Carlton Destination Club system” and to assure the Ritz-Carlton

Vacation Club members that “nothing… has changed or will change as a result of the

announcement.” The August 17th notice also stated that the original affiliation notice on July

17th had generated questions from the members, which would be addressed in an upcoming

Webinar on August 28, 2012. A copy of the August 17, 2012 Letter from Lee Cunningham is

attached hereto as EXHIBIT F.

       52.    In the meantime, Defendant Association wrote a letter to Plaintiffs and Ritz

Carlton Aspen Owners on August 17, 2012, notifying them that the Association board was

working with MVW executives to better understand the proposed affiliation. The letter states that

“[f]rankly, it has been our position that our members bought into a Ritz-Carlton brand and do not

want that brand diluted. The Board has concerns that … the nature of our club will change by

opening the club to MVW timeshare/points members who have a much lower cost of entry.”

       53.    The August 17th letter from the Association states that “[t]he Board is also

concerned that there are specific provisions in our Association documents which the Board

believes does not permit MVW to conduct a separate program as they currently intend.” A copy

of the August 17, 2012 Letter from the Association is attached hereto as EXHIBIT G.




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        54.       One of the provisions that the Association was referring to is Section 19.8 of the

Declaration of Condominium for Aspen Highlands Condominiums, entitled “Limit on

Timesharing,” which states as follows:


                 Each Owner acknowledges that Declarant intends to create Fractional
                 Ownership Interests with respect to Tourist Accommodation Units within
                 Aspen Highlands Condominiums and Aspen Highlands Village. Other
                 than the right of Declarant” (sic) or a Successor Declarant and their
                 respective officers, agents, employees, and assigns to create Fractional
                 Ownership Interests in accordance with Article 23 of this Declaration
                 (specifically including, without limitation, the Plan of Fractional
                 Ownership), no Unit shall be used for the operation of a timesharing,
                 fraction-sharing, interval ownership, private residence club,
                 membership program, vacation club, exchange network or system or
                 similar program whereby the right to exclusive use of the Unit is
                 alternated or scheduled among participants in the program on a fixed or
                 floating time schedule over a period of years whether by written,
                 recorded agreement or otherwise. (Emphasis added.)

A copy of the Declaration of Condominium for Aspen Highlands Condominiums is attached

hereto as EXHIBIT H. 4



        55.      On August 30, 2012, the Ritz-Carlton Destination Club released a new

“Frequently Asked Questions for Members” pamphlet to Plaintiffs and Ritz Carlton Aspen

Owners , which stated that “Marriott Vacations Worldwide intends to sell most of its remaining

unsold Ritz-Carlton Club inventory through the Marriott Vacation Club Destinations program.” 5



4
  The Declaration for Aspen Highlands Village which created the “Master Association”, and which also govern the
Ritz Carlton Aspen Owners Fractional Units, sets forth a similar use restriction, labeled “No Timeshare” at Section
8.25.
5
   The August 28, 2012 pamphlet stated: “Marriott Vacations Worldwide is paying club dues on these unsold
fractions in excess of eleven million dollars a year, plus continues to subsidize the operating costs at a number of
clubs for an additional four million dollars a year.”

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A copy of the August 30, 2012 pamphlet “Frequently Asked Questions for Members” is attached

hereto as EXHIBIT I.

       56.     The August 30, 2012 “Frequently Asked Questions for Members” also states:

“Given the current state of the luxury fractional market and the market’s unlikely recovery in the

near term, selling this inventory through the Marriott Vacation Club Destinations program

relieves the significant financial burden of this unsold inventory in a balanced way . . .” and

“Marriott Vacations Worldwide is paying club dues on these unsold fractions in excess of eleven

million dollars a year, plus continues to subsidize the operating costs at a number of clubs for an

additional four million dollars a year.”

       57.     On October 2, 2012, the Association issued another letter to Plaintiffs and Ritz

Carlton Aspen Owners that purported to update them on the discussions with MVW on this

pressing issue. The letter revealed, inter alia, that “MVW has been advised that it is the view of

the Board and its counsel, that in order for MVW to move towards the points based system it is

planning on, that the underlying Association documents would need to be revised as it is in

our view that the documents prohibit what MVW is planning.”

A copy of the October 2, 2012 Letter from the Association is attached hereto as EXHIBIT J.

(Emphasis added.)

       58.     While the Association was conducting its discussions with MVW, on November

5, 2012, the President of the Board of the Ritz-Carlton Club, Bachelor Gulch, Michael Mullenix,

wrote a letter to Mr. Steven Weisz, President and CEO of MVW and Lee Cunningham,

Executive Vice President and COO of MVW, stating:




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              I am writing on behalf of the Board of Directors to continue our dialogue
              about the proposed affiliation of Ritz Carlton Bachelor Gulch Members
              with Lion and Crown in 2013 and beyond and to request that such
              proposed affiliation be canceled. At a minimum, the proposed affiliation
              should be delayed until January 1, 2014 and the status quo maintained
              until that time . . . The Board and membership of the Club have serious
              concerns that the Club’s affiliation with Lion and Crown is contrary to the
              Club’s governing documents and, in any event, will have permanent
              negative impacts on the club, including most importantly to the value of
              our residence units…

       59.    The letter from the Board of the Ritz-Bachelor Club, Gulch to Steven Weisz and

Lee Cunningham ended as follows: “Please advise no later than Thursday, November 15, 2012,

whether MVW will agree to this requested delay of affiliation. If MVW will not voluntarily

agree to this delay and insists on permitting affiliation with Lion and Crown now, the Board may

have no alternative but to enforce the Club Declarations prohibition on timesharing through

formal legal action. We do not believe that should be necessary given our aligned interests on

this issue.” A copy of the November 5, 2012 Letter from the Board of the Ritz-Bachelor Gulch to

Steven Weisz and Lee Cunningham is attached hereto as EXHIBIT K.

       60.    Between April 5, 2013 and April 8, 2013, the Association wrote letters to all

Plaintiffs and Ritz Carlton Aspen Owners that:

              Positive discussions were held today between the Board of Directors and
              representatives of the Ritz/Marriott including Lee Cunningham, COO of
              the Ritz-Carlton Destination Club. Ritz Marriott representatives agree
              that unless a majority of Aspen Highlands Members (excluding the
              Marriott interests and Members not in good standing) vote in favor of
              doing so, Ritz/Marriott will not include Aspen Highlands in the
              Marriott Vacation Club affiliation/exchange/point program.
              Discussions continue on other important issues affecting Aspen
              Highlands, including alternatives for divesting the current inventory of
              Aspen Highlands units owned by Ritz/Marriott. Such inventory will not
              be sold through the Marriott Vacation Club trust without an
              additional vote of the Members.


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Copies of letters dated April 5, 2013 and April 8, 2013 from the Association to Ritz Carlton

Aspen Owners are attached hereto as EXHIBIT L. (Emphasis added)

       61.     No vote of the Members of Ritz-Aspen Highlands, including by Plaintiffs or Ritz

Carlton Aspen Owners, in favor of allowing the Defendants to include Ritz-Aspen Highlands in

the Marriott Vacation Club affiliation/exchange/point program ever occurred. Likewise, no vote

of the Members of Ritz-Aspen Highlands in favor of allowing the Defendants to sell their unsold

inventory of Aspen Highlands units through the Marriott Vacation Club trust ever occurred.

       62.     However, in April 2014, Defendant Association, acting in concert with and/or

aided and abetted by the other Defendants, including MVW, RC Management, and Cobalt,

unilaterally decided to include the Ritz-Carlton Club, Aspen Highlands Fractional Plan in the

Marriott Vacation Club affiliation/exchange/points program; and agreed and conspired with

Defendants to have the Association breach its fiduciary duties to Plaintiffs and Ritz Carlton

Aspen Owners by, inter alia, 1) agreeing to act and acting in a disloyal manner towards Plaintiffs

and Ritz Carlton Aspen Owners by favoring the interests of the Defendants over the interests of

the Plaintiffs and by including the Ritz-Carlton Club, Aspen Highlands Fractional Plan in the

Marriott Vacation Club affiliation/exchange/points program; and 2) agreeing not to and/or failing

to enforce the Declaration, including the covenant against further timesharing, as set forth in

paragraph 19.8 of the Declaration.

       63.     In April 2014, the Association wrote a letter to all Plaintiffs and Ritz Carlton

Aspen Owners updating them on “your Board of Directors’ efforts on your behalf . . .” On page

2 of the letter, the Board dropped a bombshell under the heading “Marriott Vacation Club

Destination Exchange Program: In response to the Members’ wishes - both past and present, the


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Board has crafted a very unique program which would allow Aspen Club Members to exchange

a week of their reserved allocated time for points within the Marriott Vacation Club Destinations

exchange program.” A copy of the April 2014 Letter from the Association to Plaintiffs and Ritz

Carlton Aspen Owners is attached hereto as EXHIBIT M.

        64.     Plaintiffs allege that sometime in 2014, in contravention of the promises made to

Ritz Carlton Aspen Owners on April 5 and April 8, 2013 (that unless a majority of Aspen

Highlands Members vote in favor of doing so, Ritz/Marriott will not include Aspen Highlands in

the Marriott Vacation Club affiliation/exchange/point program), Defendants MVW, RC

Management and Cobalt, pursuant to an agreement it made with Defendant Association,

affiliated    the Ritz   Carlton    Club,   Aspen    Highlands    with Marriott   Vacation    Club

affiliation/exchange/points program.

        65.     Plaintiffs allege on information and belief that sometime in 2014, in contravention

of the promises made to Ritz Carlton Aspen Owners on April 5, 2013 (that Defendants’ unsold

inventory of fractionals “will not be sold through the Marriott Vacation Club trust without an

additional vote of the Members”), Defendant MVW, pursuant to an agreement it made with

Defendant Association not to enforce Section 19.8 of Declaration of Condominium for Aspen

Highlands Condominiums, sold a portion of its remaining unsold Ritz-Carlton Club inventory to

the Marriott Vacation Club trust.

        66.     The actions of the Defendants described above were knowingly made in violation

of their respective duties of loyalty owed to Plaintiffs and, Ritz Carlton Aspen Owners as well as

in violation of Section 19.8 and other provisions of the Declaration of Condominium for Aspen

Highlands Condominiums, as well as the promises made to Plaintiffs and Ritz Carlton Aspen


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Owners between April 5 and April 8, 2013 that unless a majority of Aspen Highlands Fractional

Unit owners and members vote in favor of doing so, Defendants would not include Ritz Carlton

Club, Aspen Highlands or the Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units in the

Marriott Vacation Club affiliation/exchange/point program. The actions described herein

violated and/or aided and abetted the violation of Defendants’ fiduciary duties owed to Plaintiffs

and Ritz Carlton Aspen Owners.

       67.     Now, approximately 400,000 Marriott Vacation Club members –– who paid a

small fraction of the purchase prices and who pay approximately a third of the annual fees ––

have access to luxury resorts that were formerly only available to Plaintiffs and Ritz Carlton

Aspen Owners. Defendants have derived huge profits and/or cost savings through this affiliation,

while devaluing Plaintiffs’ vested property interests. Worse yet, Plaintiffs have had to pay, in the

form of inflated annual maintenance fees, for the increased use and wear and tear resulting from

the opening of the Ritz Carlton Club, Aspen Highlands to Marriott Vacation Club Members.

                                    V.      CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION
       (Breach of Fiduciary Duty Against Association, RC Management, and Cobalt)

       68.     Plaintiffs incorporate by reference the allegations contained in the preceding and

subsequent paragraphs, as if fully set forth in this cause of action.

       69.     Defendants Association, RC Management, and Cobalt owed fiduciary duties to

Plaintiffs and Ritz Carlton Aspen Owners arising both out of their agency (or sub-agency)

relationship with the Plaintiffs and Ritz Carlton Aspen Owners, as well as by virtue of said

Defendants’ high degree of control over Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional



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Units and had a duty to act with the utmost good faith and loyalty in the best interests of

Plaintiffs and Ritz Carlton Aspen Owners.

         70.   These Defendants breached this duty by advancing their own interests and the

interests of third parties, including the interests of MVW and MVCI, at the expense of Plaintiffs’

and Ritz Carlton Aspen Owner’s interests, by agreeing to act and acting in a disloyal manner

towards Plaintiffs and Ritz Carlton Aspen Owners and by favoring the interests of the

Defendants over the interests of the Plaintiffs and Ritz Carlton Aspen Owners through inclusion

of the Ritz-Carlton Club, Aspen Highlands Fractional Plan and the Plaintiffs’ and Ritz Carlton

Aspen Owners’ Fractional Units in the Marriott Vacation Club affiliation/exchange/points

program; and 2) agreeing not to and failing to enforce the Declaration, including the covenant

against further timesharing, as set forth in paragraph 19.8 of the Declaration and/or by failing to

act as a reasonably prudent fiduciary would have acted under the same or similar circumstances.

         71.   Defendants Association and RC Management owed Plaintiffs and Ritz Carlton

Aspen Owners a fiduciary duty that required them to, among other things, enforce the restrictive

covenants of the Declaration, including Section 19.8 thereof, as well as section 8.25 of the

Declaration for Aspen Highlands Village. These Defendants failed to enforce Section 19.8,

Section 8.25 and other provisions, thereby breaching their fiduciary duty, by: (1) failing to

enforce these restrictive covenant against timesharing, as set forth in Section 19.8 and Section

8.25; and/or (2) imposing and/or conspiring with the other Defendants to impose the affiliation

of the Marriott Vacation Club affiliation/exchange/points program with the Ritz-Carlton Club,

Aspen Highlands Fractional Plan and the Plaintiffs’ and Ritz Carlton Aspen Owners/ Fractional

Units,


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       72.     Defendants Association, RC Management and Cobalt also owed Plaintiffs and

Ritz Carlton Aspen Owners a fiduciary duty of loyalty arising both out of their respective agency

(or sub-agency) relationship with the Plaintiffs and Ritz Carlton Aspen Owners, as well as by

virtue of their high degree of control over Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional

Units and Cobalt’s exclusive control of Plaintiffs and Ritz Carlton Aspen Owners’ rights under

the appurtenant Ritz-Carlton Club Membership Program.

       73.     The fiduciary duties described herein required that Defendants Association, RC

Management and Cobalt act in the best interests of Plaintiffs and Ritz Carlton Aspen Owners,

which includes refraining from any actions that would unjustly enrich themselves or their

affiliates at the expense of the value of the Fractional Units that Plaintiffs and Ritz Carlton Aspen

Owners purchased. These Defendants breached that duty by, inter alia, imposing, allowing

and/or conspiring with the other Defendants to impose the affiliation of the Marriott Vacation

Club affiliation/exchange/points program with the Ritz-Carlton Club, Aspen Highlands

Fractional Plan and the Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units.

       74.     Defendants Association, RC Management and Cobalt breached these fiduciary

duties by advancing their own interests and the interests of third parties, including the interests of

MVW and MVCI, at the expense of Plaintiffs’ and Ritz Carlton Aspen Owners’ interests, in

allowing the affiliation of the Marriott Vacation Club affiliation/exchange/points program with

the Ritz-Carlton Club, Aspen Highlands Fractional Plan and the Plaintiffs’ and Ritz Carlton

Aspen Owners / Fractional Units.




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       75.     As a result of Defendants’ breach of fiduciary duties, Plaintiffs and Ritz Carlton

Aspen Owners suffered damages, including the destruction of the value in their fractional units,

in an amount to be proven at trial.

       76.     As a result of Defendants breach of fiduciary duties, Defendants profited at

Plaintiffs’ and Ritz Carlton Aspen Owners’ expense. Defendants should be ordered to forfeit to

Plaintiffs and Ritz Carlton Aspen Owners all profits Defendants received as a result of the

conduct described herein; and that a constructive trust be imposed upon said profits for the

benefit of Plaintiffs and Ritz Carlton Aspen Owners.

                                SECOND CAUSE OF ACTION
          (Aiding and Abetting Breach of Fiduciary Duty Against All Defendants)

       77.     Plaintiffs and Ritz Carlton Aspen Owners incorporate by reference the allegations

contained in the preceding, and subsequent paragraphs, as if fully set forth in this cause of action.

       78.     Defendants and each of them, including MVW, MVCI and L & C aided and

abetted the breaches of fiduciary duty by Defendants Association, RC Management and Cobalt.

       79.     As described above, Association, RC Management, and Cobalt owed fiduciary

duties to Plaintiffs and Ritz Carlton Aspen Owners.

       80.     As described above, Association, RC Management and Cobalt breached their

fiduciary duties to Plaintiffs and Ritz Carlton Aspen Owners.

       81.     Defendants, including MVW, MVCI and L & C knowingly aided and abetted and

participated in the breaches of fiduciary duty by, inter alia, participating in further timesharing

(prohibited by, inter alia, Section 19.8 of the Declaration of Condominium for Aspen Highlands

Condominiums and Section 8.25 of the Declaration for Aspen Highlands Village) and by

participating in, intermeddling, forcing and otherwise improperly influencing the decision by

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Cobalt and the other Defendants to affiliate the Marriott Vacation Club and with the Ritz Carlton

Club, Aspen Highlands and with Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units,

despite promises made to Plaintiffs and Ritz Carlton Aspen Owners that such affiliation would

not occur without a vote by the Plaintiffs and Ritz Carlton Aspen Owners.

       82.     Defendants’ aiding and abetting the breach of fiduciary duties alleged herein has

caused damage to Plaintiffs and, Ritz Carlton Aspen Owners including the destruction of the

value in their fractional units, in an amount to be proven at trial.

       83.     As a result of Defendants aiding and abetting of the breach of fiduciary duties

described herein, Defendants profited at Plaintiffs and Ritz Carlton Aspen Owners’ expense.

Defendants should be ordered to forfeit to Plaintiffs and Ritz Carlton Aspen Owners all profits

Defendants received as a result of the conduct described herein; and that a constructive trust be

imposed upon said profits for the benefit of Plaintiffs and Ritz Carlton Aspen Owners.

                                   THIRD CAUSE OF ACTION
                              (Conspiracy Against All Defendants)

       84.     Plaintiffs incorporate by reference the allegations contained in the preceding and

subsequent paragraphs, as if fully set forth in this cause of action.

       85.     Defendants, and each of them, conspired with the remaining Defendants’ scheme

to commit the wrongful and unlawful conduct alleged herein.

       86.     As described in detail above, MVW, MVCI and L & C, in furtherance of their

own financial gain, conspired with Defendants Association, RC Management and Cobalt in

breaching their fiduciary duties by agreeing to the affiliation of the Ritz-Carlton Club, Aspen

Highlands and Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units with the Marriott



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Vacation Club, in violation of promises made by Defendants both in April 2013, in the

Affiliation Agreement, and in the Declaration of Condominium at Aspen Highlands.

        87.     All Defendants agreed on an object to be accomplished – the affiliation of the

Ritz-Carlton Club, Aspen Highlands and Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional

Units with the Marriott Vacation Club. There was a meeting of the minds among all Defendants

on that object. The Defendants, working together, accomplished the unlawful overt act of aiding

and abetting the Association, RC Management, and/or Cobalt in breaching their fiduciary duties

to Plaintiffs and Ritz Carlton Aspen Owners by participating in said affiliation, in violation of

promises made by Defendants in April 2013, the Affiliation Agreement, and the Declaration of

Condominium at Aspen Highlands.

        88.    As a proximate result, Plaintiffs suffered damages, including the destruction of the

value in their fractional units, in an amount to be proven at trial.

        89.    As a result of Defendants conspiracy to breach of fiduciary duties described herein,

Defendants profited at Plaintiffs and Ritz Carlton Aspen Owners’ expense. Defendants should be

ordered to forfeit to Plaintiffs and Ritz Carlton Aspen Owners all profits Defendants received as

a result of the conduct described herein; and that a constructive trust be imposed upon said

profits for the benefit of Plaintiffs and.

                                    FOURTH CAUSE OF ACTION
                           (Unjust Enrichment Against All Defendants)

        90.     Plaintiffs incorporate by reference the allegations contained in the preceding and

subsequent paragraphs, as if fully set forth in this cause of action.

        91.     Defendants acted in a wrongful manner, unfairly causing detriment to Plaintiffs

and Ritz Carlton Aspen Owners.

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          92.    Defendants, and each of them, conspired with and aided and abetted each other in

achieving a unilaterally imposed affiliation with the Marriott Vacations Club, in order to rid

themselves of a poor financial investment with the Ritz-Carlton Club, to increase the

attractiveness, value and price of MVC timeshares sold by the MVW and MVCI through the

affiliation with the Ritz Carton Club Aspen Highlands, as well as to increase exchange fees

payable to Cobalt and L & C, despite knowing that such an affiliation would devalue Plaintiffs’

Fractional Units, while at the same time making Marriott Vacation Club Destinations more

attractive, valuable and expensive, all to the unjust enrichment of Defendants, including but not

limited to MVW, MVCI, Cobalt and L & C.

          93.    Under these circumstances, it would be unjust for Defendants to retain the benefit

and ill-gotten profits they made without commensurate compensation to Plaintiffs and Ritz

Carlton Aspen Owners. As such, Plaintiffs request that the Court impose a constructive trust for

the benefit of Plaintiffs, on all profits Defendants received as a result of the conduct described

herein.

                                        RESERVATION OF RIGHTS

          94.     Plaintiffs expressly reserve all rights accorded under Colorado law, including but

not limited to the right to amend this pleading as may be necessary in light of new or additional

factual information gathered throughout the disclosure and discovery phases of this litigation and

the right to plead exemplary damages in accordance with C.R.S. § 13-21.102.

                                              JURY DEMAND

          Plaintiffs demand a trial by jury for all issues so triable.




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                                          PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for relief as follows:

      a.     That Plaintiffs recover damages, as provided by law, determined to have been

             sustained as to each of them;

      b.     That Defendants RC Management, Cobalt and L & C forfeit and repay to

             Plaintiffs all compensation paid to them by Plaintiffs;

      c.     That Defendants forfeit to Plaintiffs all profits Defendants received as a result of

             the conduct described herein; and that a constructive trust be imposed upon said

             profits for the benefit of Plaintiffs;

      d.     That Plaintiffs receive pre-judgment and post-judgment interest as allowed by

             law;

      e.     That Plaintiffs recover their costs of the suit, and attorneys’ fees as allowed by

             law; and

      f.     For all other relief allowed by law and equity.

      DATED: October 3 2016.

                                                      Respectfully submitted,


LAW OFFICE OF MICHAEL J. REISER                       THE MATTHEW C. FERGUSON LAW FIRM, P.C.



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                              CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on this 3rd day of October, 2016, a true and
accurate copy of the foregoing THIRD AMENDED AND SUPPLEMENTAL COMPLAINT
AND JURY DEMAND was filed and served via CM/ECF filing system upon following:

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